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                   6
                             Attorneys for Defendant
                   7         FIRST TRANSIT, INC.
                   8
                                                    UNITED STATES DISTRICT COURT
                   9
                                                  CENTRAL DISTRICT OF CALIFORNIA
                10
                11
                             MASSOUD AZIMIHASHEMI,                         Case No. 8:21-CV-00780
                12           individually, and on behalf of other
                             members of the general public similarly       [Orange County Superior Court Case
                13           situated,                                     No. 30-2021-01185526-CU-OE-CXC
                14                          Plaintiff,                     NOTICE OF REMOVAL TO
                                                                           FEDERAL COURT PURSUANT
                15                 v.                                      TO 28 U.S.C. §§ 1332, 1441, AND
                                                                           1446
                16           FIRST TRANSIT SERVICES, INC., an
                             unknown business entity; FIRST
                17           TRANSIT, INC., an unknown business
                             entity; FIRST GROUP AMERICA, an
                18           unknown business entity; and DOES 1
                             through 100, inclusive,
                19
                                            Defendants.
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LITTLER MENDELSON P.C.                                                           NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
                                                                       1       COURT PURSUANT TO 28 U.S.C. §§ 1332,
        619.232.0441
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                   1                TO THE CLERK OF THE ABOVE-ENTITLED COURT, TO PLAINTIFF
                   2         MASSOUD AZIMIHASHEMI, AND TO PLAINTIFF’S ATTORNEYS OF
                   3         RECORD:
                   4                PLEASE TAKE NOTICE that Defendant First Transit, Inc. (“Defendant”)
                   5         hereby removes the state court action described herein, filed by Plaintiff Massoud
                   6         Azimihashemi (“Plaintiff”) in the Superior Court of the State of California, County of
                   7         Orange, to the United States District Court for the Central District of California,
                   8         pursuant to 28 U.S.C. §§ 1332(d), 1441, and 1446. Defendant makes the following
                   9         allegations in support of its Notice of Removal:
                10           I.     STATEMENT OF JURISDICTION
                11                  1.    This Court has original jurisdiction over this action pursuant to the Class
                12           Action Fairness Act of 2005 (“CAFA”), which vests the United States district courts
                13           with original jurisdiction of any civil action: (a) that is a class action with a putative
                14           class of more than a hundred members; (b) in which any member of a class of plaintiffs
                15           is a citizen of a state different from any defendant; and (c) in which the matter in
                16           controversy exceeds $5,000,000, exclusive of interest and costs.           See 28 U.S.C.
                17           § 1332(d). CAFA authorizes removal of such actions in accordance with 28 U.S.C.
                18           § 1446. As set forth below, this case meets all of CAFA’s requirements for removal
                19           and is timely and properly removed by the filing of this Notice of Removal.
                20           II.    VENUE
                21                  2.    Plaintiff originally brought this action in the Superior Court of the State of
                22           California, County of Orange.       Therefore, venue lies in the Central District of
                23           California, Southern Division pursuant to 28 U.S.C. §§ 84 (c)(3), 1441(a), and 1446(a).
                24           III.   PLEADINGS, PROCESS, AND ORDERS
                25                  3.    On February 24, 2021, Plaintiff filed an unverified Class Action Complaint
                26           against Defendant and various Doe defendants in the Orange County Superior Court
                27           entitled MASSOUD AZIMIHASHEMI, individually and on behalf of other persons
                28
LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
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  San Diego, CA 92101.3577
                                                                        2         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                                                                                                      1441, AND 1446
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                   1         similarly situated, Plaintiffs, v. FIRST TRANSIT SERVICES, INC., an unknown
                   2         business entity; FIRST TRANSIT, INC., an unknown business entity; FIRST TRANSIT
                   3         INC., an unknown business entity; FIRST GROUP AMERICA, an unknown business
                   4         entity; and DOES 1 through 100, Defendant, designated as Case No. 30-2021-
                   5         01185526-CU-OE-CXC (hereinafter, the “Complaint”). (A true and correct copy of the
                   6         Complaint is attached hereto as Exhibit A.)
                   7               4.     The Complaint asserts the following causes of action: “(1) Violation of
                   8         California Labor Code §§ 510 and 1198 (Unpaid Overtime), (2) Violation of California
                   9         Labor Code §§ 226.7 and 512(a) (Unpaid Meal Period Premiums), (3) Violation of
                10           California Labor Code §§ 226.7 (Unpaid Rest Period Violations), (4) Violation of
                11           California Labor Code §§ 1194, 1197, and 19971.1 (Unpaid Minimum Wages), (5)
                12           Violation of California Labor Code §§ 201 and 202 (Final Wages Not Timely Paid), (6)
                13           Violation of California Labor Code § 204 (Wages Not Timely Paid During
                14           Employment), (7) Violation of California Labor Code § 226(a) (Non-Compliant Wage
                15           Statements), (8) Violation of California Labor Code § 1174(d) (Failure to Keep
                16           Requisite Payroll Records), (9) Violation of California Labor Code §§ 2800 and 2802
                17           (Unreimbursed Business Expenses), (10) Violation of California Business &
                18           Professions Code §§ 17200, et seq.” (Complaint, Caption page.) The allegations in the
                19           Complaint are incorporated into this Notice of Removal by reference without admitting
                20           the truth of any of them.
                21                 5.     Defendant First Transit, Inc. has not yet been served with the Complaint.
                22           Another purported entity, First Transit Services, Inc., named in the Complaint but not
                23           related to Defendant First Transit, Inc. appears to have been attempted to be served
                24           through First Transit, Inc.’s agent for service of process, CT Corporation System on
                25           March 25, 2021.
                26                 6.     Attached hereto as Exhibit B are true and correct copies of the Summons
                27           issued by the Court, the Civil Case Cover Sheet, Notice of Case Assignment, Minutes
                28
LITTLER MENDELSON P.C.                                                           NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
          Suite 900
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                                                                      3        COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                                                                                                   1441, AND 1446
                    Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 4 of 72 Page ID #:4



                   1         of Chambers Work and Clerk’s Certificate of Mailing, obtained from the Orange
                   2         County Superior Court website. None of these documents have been served on
                   3         Defendant.
                   4               7.     Although Defendant has not yet been served, in an abundance of caution
                   5         due to the attempted service on named Defendant First Transit Services, Inc., through
                   6         First Transit, Inc.’s agent for service of process on April 23, 2021, Defendant filed an
                   7         Answer in the Orange County Superior Court and served a copy of that Answer on
                   8         Plaintiff’s counsel of record. Attached hereto as Exhibit C is a true and correct copy
                   9         of Defendant’s Answer.
                10                 8.     To Defendant’s knowledge, no further process, pleadings, or orders related
                11           to this case have been filed in the Orange County Superior Court or served by any other
                12           party. To Defendant’s knowledge, no proceedings related hereto have been heard in
                13           the Orange County Superior Court.
                14           IV.   TIMELINESS OF REMOVAL
                15                 9.     An action may be removed from state court by filing a notice of removal –
                16           together with a copy of all process, pleadings, and orders served on the defendant – within
                17           thirty days of defendant receiving service of the initial pleading. 28 U.S.C. § 1446(b);
                18           Murphy Bros., Inc. v. Mitchetti Pipe Stringing, Inc., 526 U.S. 344, 354 (1999) (the thirty-
                19           day removal period runs from the service of the summons and complaint).
                20                 10.    Removal of this action is timely. Defendant has not been served with the
                21           Complaint. However, Defendant appeared in this case in Orange County Superior
                22           Court on April 23, 2021 by answering the Complaint, at which time it became a party
                23           to the case subject to the court’s authority, which has the equivalent procedural effect
                24           of the service of a summons. Murphy Bros., Inc. v. Mitchetti Pipe Stringing, Inc., 526
                25           U.S. 344, 356 (1999) (“Unless a named defendant agrees to waive service, the summons
                26           continues to function as the sine qua non directing an individual or entity to participate
                27           in a civil action or forgo procedural or substantive rights.”). This removal is timely
                28
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          Suite 900
  San Diego, CA 92101.3577
                                                                        4         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                                                                                                      1441, AND 1446
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                   1         filed within 30 days of Defendant’s first appearance. Because Defendant appeared on
                   2         April 23, 2021, the thirty-day period for removal began to run on April 23, 2021 and
                   3         will conclude May 23, 2021. Even if the purported service on First Transit Services,
                   4         Inc. on March 25, 2021 could somehow be construed as service on First Transit, Inc.,
                   5         which it cannot removal is still timely, as the deadline to remove would fall on April
                   6         26, 2021, the thirtieth day after service having fallen on a Saturday. As referenced
                   7         above, this Notice of Removal also contains all process, pleadings and orders entered
                   8         in this action, and the Answer filed and served by Defendant on April 23, 2021. (See
                   9         Exhibits A-C.)
                10           V.    CAFA JURISDICTION
                11                 11.    CAFA grants federal district courts original jurisdiction over civil class
                12           action lawsuits filed under federal or state law in which any member of a class of
                13           plaintiffs is a citizen of a state different from any defendant, where there are at least 100
                14           putative class members, and where the matter’s amount in controversy exceeds
                15           $5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d). CAFA authorizes
                16           removal of such actions in accordance with 28 U.S.C. § 1446. As set forth below, this
                17           case meets each CAFA requirement for removal, and is properly removed by the filing
                18           of this Notice of Removal.
                19                 A.     This is a Class Action.
                20                 12.    Plaintiff filed this action as a class action. (Complaint, ¶¶ 12 - 16.)
                21                 B.     The Proposed Class Contains At Least 100 Members.
                22                 13.    The provisions of CAFA apply to proposed class actions involving 100
                23           individuals or more. 28 U.S.C. § 1332(d)(5)(B). This requirement is met in this case.
                24                 14.    Plaintiff seeks to represent a class consisting of Plaintiff and “All current
                25           and former hourly-paid or non-exempt employees who worked for any of the
                26           Defendants within the State of California at any time during the period from four years
                27
                28
LITTLER MENDELSON P.C.                                                               NOTICE OF REMOVAL TO FEDERAL
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  San Diego, CA 92101.3577
                                                                         5         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1         before the filing of this Complaint to final judgment and who reside in California.”
                   2         (Complaint, ¶ 13.)
                   3               15.    Defendant employed at least 7,437 individuals in the State of California
                   4         from February 24, 2017 through February 21, 2021. Thus, CAFA’s requirement that
                   5         the action involve 100 or more individuals is satisfied.
                   6               C.     Defendant Is Not A Governmental Entity.
                   7               16.    CAFA does not apply to class actions where “primary defendants are
                   8         States, State officials, or other governmental entities against whom the district court
                   9         may be foreclosed from ordering relief.” 28 U.S.C. § 1332(d)(5)(B).
                10                 17.    Defendant is a corporation, not a state, state official or other government
                11           entity exempt from CAFA.
                12                 D.     There Is Diversity Between At Least One Putative Class Member And
                13                        One Defendant.
                14                 18.    CAFA’s minimal diversity requirement is satisfied, inter alia, when “any
                15           member of a class of plaintiffs is a citizen of a State different from any defendant.” 28
                16           U.S.C. §§ 1332(d)(2)(A), 1453(b). In a class action, only the citizenship of the named
                17           parties is considered for diversity purposes and not the citizenship of the unnamed
                18           putative class members. Snyder v. Harris, 394 U.S. 332, 339-40 (1969). Additionally,
                19           for removal purposes, diversity must exist both at the time the action was commenced
                20           in state court and at the time of removal. Strotek Corp. v. Air Transp. Ass’n of Am., 300
                21           F.3d 1129, 1131 (9th Cir. 2002). Minimal diversity of citizenship exists here because
                22           Plaintiff and Defendant are citizens of different states.
                23                 19.    For diversity purposes, a person is a “citizen” of the state in which he is
                24           domiciled.    Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)
                25           (confirming that a person’s domicile is the place he resides with the intention to remain).
                26           Furthermore, allegations of residency in a state court complaint can create a rebuttable
                27           presumption of domicile supporting diversity of citizenship. Lew v. Moss, 797 F.2d
                28
LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
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                                                                        6         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1         747, 751 (9th Cir. 1986); State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 519-20
                   2         (10th Cir. 1994) (allegation by party in state court complaint of residency “created a
                   3         presumption of continuing residence in [state] and put the burden of coming forward
                   4         with contrary evidence on the party seeking to prove otherwise”); Overholt v. Airista
                   5         Flow Inc., No. 17cv1337-MMA (AGS), 2018 WL 355231, at *4 (S.D. Cal. Jan. 10,
                   6         2018) (citations omitted).
                   7                 20.   Here, at the time Plaintiff commenced this action and, upon information
                   8         and belief, at the time of removal, Plaintiff resided in the State of California.
                   9         (Complaint, ¶ 5 [“Plaintiff is an individual residing in the State of California.”]). Based
                10           on the foregoing, Defendant is informed and believes that Plaintiff is a citizen of the
                11           State of California.
                12                   21.   For diversity purposes, a corporation “shall be deemed a citizen of every
                13           State . . . by which it has been incorporated and of the State . . . where it has its principal
                14           place of business[.]” 28 U.S.C. § 1332(c)(l). Defendant is incorporated under the laws
                15           of the State of Delaware and, pursuant to 28 U.S.C. § 1332(c)(1), Defendant is therefore
                16           a citizen of the State of Delaware.
                17                   22.   Defendant is also a citizen of the State of Ohio because a corporation is
                18           deemed to be a citizen of the state in which it has its principal place of business. See
                19           28 U.S.C. § 1332(c)(1). As clarified by the Supreme Court in Hertz Corp. v. Friend,
                20           559 U.S. 77 (2010), Section 1332(c)(1)’s use of “the phrase ‘principal place of business’
                21           refers to the place where a corporation’s high level officers direct, control, and
                22           coordinate the corporation’s activities,” i.e., its “nerve center.” Id. at 80-81. Except in
                23           unusual circumstances, a corporation’s corporate headquarters is its nerve center. Id. at
                24           93-94.
                25                   23.   Defendant has its corporate headquarters at 600 Vine Street, Cincinnati,
                26           Ohio.
                27
                28
LITTLER MENDELSON P.C.                                                                 NOTICE OF REMOVAL TO FEDERAL
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  San Diego, CA 92101.3577
                                                                          7          COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                                                                                                         1441, AND 1446
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                   1               24.    A majority of Defendant’s corporate decisions, including operational,
                   2         executive, administrative, and policymaking decisions, are made from Defendant’s
                   3         Cincinnati, Ohio headquarters. Defendant’s management and administrative functions
                   4         are located in Cincinnati, Ohio, including human resources, finance, treasury, legal,
                   5         payroll, and safety.    Defendant’s “nerve center” and, thus, its principal place of
                   6         business, is located in Cincinnati, Ohio. See Hertz, 559 U.S. at 92-93.
                   7               25.     FirstGroup America, Inc. is incorporated in under the laws of the State
                   8         of Delaware and, pursuant to 28 U.S.C. 1332(c)(1), is therefore a citizen of Delaware.
                   9         FirstGroup America, Inc. is also a citizen of the State of Ohio because its corporate
                10           headquarters are located at 600 Vine St., Ste 1400, Cincinnati, OH, 45202-2426 and
                11           majority of its corporate decisions, including operational, executive, administrative, and
                12           policymaking decisions, are made from the Cincinnati, Ohio headquarters. As such,
                13           FirstGroup America, Inc.’s principal place of business in the State of Ohio and
                14           FirstGroup America is also a citizen of the State of Ohio.
                15                 26.    FirstGroup America, Inc. consents to this removal.
                16                 27.    As noted, Defendant is unaware of any entity named “First Transit
                17           Services, Inc.,” and there is no such entity with any sort of a parent, subsidiary of sister-
                18           entity relationship with Defendant and no such entity involved in the employment of
                19           the putative class. As such, First Transit Services, Inc. is a sham Defendant which can
                20           be ignored for purposed of diversity of citizenship.
                21                 28.    The presence of Doe defendants in this case has no bearing on diversity
                22           with respect to removal. See 28 U.S.C. § 1441(a) (“For purposes of removal under this
                23           chapter, the citizenship of defendants sued under fictitious names shall be
                24           disregarded.”); Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998)
                25           (“28 U.S.C. § 144l(a) explicitly provides that the citizenship of defendants sued under
                26           fictitious names shall be disregarded for purposes of removal.”).
                27
                28
LITTLER MENDELSON P.C.                                                                NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
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  San Diego, CA 92101.3577
                                                                         8          COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1               29.    Accordingly, the named Plaintiff is a citizen of a state different from
                   2         Defendant, and diversity exists for purposes of CAFA jurisdiction. See 28 U.S.C.
                   3         §§ 1332(d)(2)(A), 1453.
                   4               E.     The Amount In Controversy Exceeds $5,000,000.
                   5               30.    The removal statute requires a defendant seeking to remove a case to
                   6         federal court to file a notice “containing a short and plain statement of the grounds for
                   7         removal.” 28 U.S.C. § 1446(a). In Dart Cherokee Basin Operating Co. v. Owens, 135
                   8         S. Ct. 547, 554 (2014), the Supreme Court recognized that “as specified in § 1446(a), a
                   9         defendant’s notice of removal need include only a plausible allegation that the amount
                10           in controversy exceeds the jurisdictional threshold.” Only if the plaintiff contests or the
                11           court questions the allegations of the notice of removal is supporting evidence required.
                12           Id. at 554. “[T]he defendant’s amount-in-controversy allegation should be accepted”
                13           just as a plaintiff’s amount-in-controversy allegation is accepted when a plaintiff
                14           invokes federal court diversity jurisdiction. Id. at 553.
                15                 31.    For purposes of determining whether the amount in controversy has been
                16           satisfied, the Court must presume that Plaintiff will prevail on his claims. Kenneth
                17           Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993, 1001 (C.D. Cal.
                18           2002) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092, 1096 (11th Cir. 1994) (stating
                19           that the amount in controversy analysis presumes that “plaintiff prevails on liability.”)).
                20           The ultimate inquiry is the amount that is put “in controversy” by the allegations of a
                21           plaintiff’s complaint, not what a defendant might actually owe. Rippee v. Boston
                22           Market Corp., 408 F. Supp. 2d 982, 986 (S.D. Cal. 2005); accord Ibarra v. Manheim
                23           Invs., Inc., 775 F.3d 1193, 1198 n.1 (9th Cir. 2015) (explaining that even when the court
                24           is persuaded the amount in controversy exceeds $5,000,000, defendants “are still free
                25           to challenge the actual amount of damages in subsequent proceedings and at trial”
                26           because they are only estimating the amount in controversy).
                27
                28
LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
          Suite 900
  San Diego, CA 92101.3577
                                                                        9         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1               32.         Defendant denies the validity and merit of the entirety of Plaintiff’s claims,
                   2         the legal theories upon which they are ostensibly based, and the claims for monetary
                   3         and other relief that flow therefrom. For purposes of removal only, however, and
                   4         without conceding that Plaintiff or the putative class are entitled to any damages or
                   5         penalties whatsoever, it is readily apparent that the allegations of Plaintiff’s Complaint
                   6         establish that the amount in controversy exceeds CAFA’s jurisdictional minimum of
                   7         $5,000,000.
                   8               33.         Here, Plaintiff does not allege the amount in controversy in his Complaint.
                   9         In the Prayer for Relief, Plaintiff seeks, inter alia, “For general unpaid wages at
                10           overtime wage rates;” “one (1) hour of pay at each employee’s regular rate of
                11           compensation for each workday that a meal period was not provided;” “one (1) hour of
                12           pay at each employee’s regular rate of compensation for each workday that a rest period
                13           was not provided;” “for statutory wage penalties pursuant to California Labor Code
                14           section 1197.1;” “for statutory wage penalties pursuant to California Labor Code
                15           section 203;” “for statutory penalties pursuant to California Labor Code section 226(e);
                16           “for statutory penalties pursuant to California Labor Code section 1174.5;” “for actual,
                17           consequential and incidental losses and damages, according to proof;” “Damages for
                18           unpaid addition compensation for failing to provide timely or uninterrupted or lawful
                19           meal periods and rest periods;” “for restitution of unpaid wages;” and for “reasonable
                20           attorneys’ fees and costs.” (Complaint, Prayer for Relief ¶¶ 6-58.)
                21                 34.         When, as here, the plaintiff’s complaint does not state the amount in
                22           controversy, the defendant’s notice of removal may do so. Defendant’s notice of
                23           removal must simply include “a plausible allegation that the amount in controversy
                24           exceeds the jurisdictional threshold.” Dart, 135 S. Ct. at 554.
                25                             i.       Meal and Rest Break Premiums
                26                       35.        Defendant is entitled to base its calculations, for purposes of calculating
                27           the amount in controversy, on the argument and allegations by Plaintiff in his Second
                28
LITTLER MENDELSON P.C.                                                                     NOTICE OF REMOVAL TO FEDERAL
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                                                                              10         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1         Cause of Action for Violation of California Labor Code §§ 226.7 and 512(a) (Unpaid
                   2         Meal Period Premiums) and Third Cause of Action for Violation of California Labor
                   3         Code § 226.7 (Unpaid Rest Period Premiums). (Complaint, ¶¶ 61, 62 [“Plaintiff and
                   4         the other class members…were required to work for periods longer than five (5) hours
                   5         within an uninterrupted meal period of not less than thirty (30) minutes and/or rest
                   6         period;” Complaint, ¶ 71 [“Defendants required Plaintiff and other class members to
                   7         work four (4) or more hours without authorizing or permitting a ten (10) minute rest
                   8         period per each four (4) hour period worked;” see also Complaint ¶ 27, [“Defendants
                   9         failed to provide Plaintiff and the other class members all required rest and meal periods
                10           during the relevant time period as required under the Industrial Welfare Commission
                11           Wage Orders and thus they are entitled to any and all applicable penalties.”]; Complaint
                12           ¶ 29 [“Defendants knew or should have known that Plaintiff and the other class
                13           members were entitled to receive all rest periods or payment of one additional hour of
                14           pay at Plaintiff's and the other class member's regular rate of pay when a rest period was
                15           missed, and they did not receive all rest periods or payment of one additional hour of
                16           pay at Plaintiff's and the other class members' regular rate of pay when a rest period was
                17           missed”].
                18                 36.    Thus, Plaintiff asserts that Defendant owes him and each putative class
                19           member a premium equal to one (1) hour of wages per missed meal and rest period.
                20           (Complaint, Prayer for Relief, ¶¶ 11, 18; see also Cal. Labor Code § 226.7 [requiring
                21           one hour’s pay for each day an employee does not receive a compliant rest period]).
                22                 37.    Between February 24, 2017 and February 21, 2021, dates within the
                23           relevant time period alleged in the Complaint, Defendant employed at least 7,437
                24           individuals in the State of California.
                25                 38.    For the time period of February 24, 2017 to February 21, 2021, the period
                26           for which time records were analyzed for purposes of the meal and rest period claims,
                27           and for the purposes of removal, Defendant was able to analyze the pay data of 5,780
                28
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                                                                       11         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1         of the 7,437 California employees. These 5,780 California employees were employed
                   2         a combined total of approximately 156,337 bi-weekly pay periods during that period.
                   3         The average rate of pay for the employees who worked those 156,337 bi-weekly pay
                   4         periods was $16.80 per hour.
                   5               39.    Defendant “may make mathematical calculations using reasonable
                   6         averages of, for example, hourly, monthly, and annual incomes of comparable
                   7         employees when assessing the amount-in-controversy.” Garcia v. ACE Cash Express,
                   8         Inc., No. SACV 14-0285-DOC (RNBx), 2014 WL 2468344, at *2 (C.D. Cal. May 30,
                   9         2014) (citing Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1148-49
                10           (C.D. Cal. 2010)). Accordingly, assuming a conservative estimate of one meal period
                11           and one rest period violations per bi-weekly pay period (i.e., one meal period violation
                12           per workweek and one rest period violation ever two weeks) during the class period,
                13           the amount at issue for Plaintiff’s Second Cause of Action for meal period violations
                14           and Third Cause of Action for rest period violations is $5,252,923.20 for the four-year
                15           period. (156,337 bi-weekly pay periods X 2 violations per pay period X $16.80 average
                16           hourly rate). See Long v. Destination Maternity Corp., No. 15cv2836-WQH-RBB,
                17           2016 WL 1604968, at *8 (S.D. Cal. April 21, 2016) (“Because Plaintiff does not include
                18           fact-specific allegations regarding the circumstances of the alleged . . . rest periods, it
                19           is reasonable for Defendant to estimate damages sought based on one . . . rest period
                20           violation per employee per week.” (citations omitted)). Defendant’s conservative
                21           assumption of one violation every two weeks to calculate the amount in controversy on
                22           Plaintiff’s meal and rest break claims are reasonable, particularly given that courts often
                23           assume violation rates of 100% in calculating the amount in controversy when the
                24           complaint does not allege a more precise calculation. See, e.g., Ritenour v. Carrington
                25           Mortgage Servs. LLC, 228 F. Supp. 3d 1025, 1030 (C.D. Cal. 2017) (“Given the vague
                26           language of the Complaint and the broad definition of the class, it is reasonable for
                27           Defendants to assume a 100% violation rate.”); Thomas v. Aetna Health of Cal., Inc.,
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LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
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                                                                       12         COURT PURSUANT TO 28 U.S.C. §§ 1332,
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                   1         No. 1:10-cv-01906-AWI-SKO, 2011 WL 2173715, at *20 (E.D. Cal. June 2, 2011);
                   2         Navarro v. Servisair, LLC, No. C 08-02716 MHP, 2008 WL 3842984, at *8-9 (N.D.
                   3         Cal. Aug. 14, 2008); Alvarez v. Ltd. Express, LLC, No. 07CV1051 IEG (NLS), 2007
                   4         WL 2317125, at *3 (S.D. Cal. Aug. 8, 2007); Muniz v. Pilot Travel Centers LLC, No.
                   5         CIV. S-07-0325 FCD EFB, 2007 WL 1302504, at *4 (E.D. Cal. May 1, 2007).
                   6               40.   These courts recognize “that imposing overly stringent requirements on a
                   7         defendant to proving the amount in controversy would run the risk of essentially asking
                   8         defendants to prove the plaintiffs’ case.” Altamirano v. Shaw Indus., Inc., No. C-13-
                   9         0939 EMC, 2013 WL 2950600, at *5 (N.D. Cal. June 14, 2013); see also Jones v. Tween
                10           Brands, Inc., No. 2:14-CV-1631-ODW (PLAx), 2014 WL 1607636, at *2 (C.D. Cal.
                11           Apr. 22, 2014) (finding defendant did not need to provide payroll data to support
                12           removal because defendant “is not required to meet such a high burden.”) (citing Muniz,
                13           2007 WL 1302504, at *7).
                14                 41.   For example, in Muniz the district court held that “a removing defendant
                15           is not obligated to ‘research, state, and prove the plaintiff’s claims for damages.’”
                16           Muniz, 2007 WL 1302504, at *2 (quoting McCraw v. Lyons, 863 F. Supp. 430, 434
                17           (W.D. Ky. 1994)); see also Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199,
                18           1204–05 (E.D. Cal. 2008). A defendant is thus not obligated “to support removal with
                19           production of extensive business records to prove or disprove liability and/or damages
                20           with respect to plaintiff or the putative class members at this premature (pre-
                21           certification) stage of the litigation.” Muniz, 2007 WL 1302504, at *5 (citing McGraw,
                22           863 F. Supp. 2d at 434); see also Thomas, 2011 WL 2173715, at *20 (“[R]equiring
                23           Defendants to forecast an exact violation rate would essentially force a removing
                24           defendant to prove the plaintiff’s case.” (citing Muniz, 2007 WL 1302504, at *3)).
                25                 42.   In Alvarez, the plaintiff broadly alleged meal and rest period violations
                26           based on an “‘extreme workload’ that made it ‘virtually impossible’ for defendant’s
                27           employees to take meal periods and rest breaks” and a “‘company culture’ that
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                   1         discouraged meal periods and rest breaks.” 2007 WL 2317125, at *3. Assuming the
                   2         allegations in the complaint were true, the court concluded the plaintiff’s complaint
                   3         could support a 100% violation rate. Id.
                   4               43.    Similarly, in Muniz, the plaintiff did not allege “facts specific to the
                   5         circumstances of her or the class members’ allegedly missed meal and/or rest periods”;
                   6         “[i]nstead, plaintiff allege[d] a common course of conduct in violation of the law
                   7         resulting in injury to herself and every other hourly employee employed by defendant
                   8         in the State of California in the four years preceding the filing of the Complaint.” 2007
                   9         WL 1302504 at *4. The court permitted the defendant to use a 100% violation rate to
                10           determine the maximum penalties, since the plaintiff was the “‘master of [her] claim[s],’
                11           and if she wanted to avoid removal, she could have alleged facts specific to her claims
                12           which would narrow the scope of the putative class or the damages sought.” Id. (quoting
                13           Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987)); see also Ford v. CEC Entm’t,
                14           Inc., No. CV 14-01420 RS, 2014 WL 3377990, at *3 (N.D. Cal. July 10, 2014) (finding
                15           plaintiff’s allegation that “[d]efendants implemented a systematic, company-wide policy
                16           to not pay rest period premiums” justified defendant’s assumption of a 100% violation
                17           rate that was “reasonably grounded in the complaint.”); Leos v. Fed. Express Corp., No.
                18           2:14-cv-02864-ODW(AGRx), 2014 WL 2586866, at *5 (C.D. Cal. June 10, 2014)
                19           (“courts have allowed the assumption of a 100–percent violation rate where the plaintiff
                20           alleges in the complaint that each member of the class has been harmed.” (citing
                21           Coleman, 730 F. Supp. 2d at 1149)).
                22                 44.    In Coleman, the court held that where the plaintiff does not include a
                23           limitation on the number of violations, and taking the complaint as true, the court may
                24           find the “Defendants could properly calculate the amount in controversy based on a
                25           100% violation rate.” 730 F. Supp. 2d at 1149-51. As in Coleman, here, Plaintiff fails
                26           to include any limitations on the alleged number of rest break violations or limitations
                27           on the number of putative class members allegedly injured. Thus, as in Coleman,
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                   1         Defendant may properly calculate the amount in controversy based on a 100% violation
                   2         rate.
                   3                 45.   That being said, for purposes of this removal Defendant assumes only a
                   4         one meal and one rest period violation every two weeks, for a total of two violations per
                   5         bi-weekly pay period, for the four years of data analyzed, which results in an amount in
                   6         controversy figure that is substantially lower than if Defendant assumed a 100%
                   7         violation rate. As noted above, assuming an estimate of two meal and rest period
                   8         violations per bi-weekly pay period during the relevant time period the amount at issue
                   9         for Plaintiff’s Second Cause of Action for meal period violations and Third Cause of
                10           Action for rest period violations is easily estimated to be at least $5,252,923.20, which
                11           is itself sufficient to satisfy the amount in controversy requirement.
                12                   ii.   Wage Statements
                13                   46.   Defendant is also entitled to base its calculations, for purposes of
                14           calculating the amount in controversy, on the argument and allegations by Plaintiff in
                15           his Seventh Cause of Action alleging failure to provide accurate itemized wage
                16           statements. (Complaint ¶ 96 [“Defendants have intentionally and willfully failed to
                17           provide Plaintiff and the other class members with complete and accurate wage
                18           statements. The deficiencies include, but are not limited to: the failure to include the
                19           total number of hours worked by Plaintiff and the other class members.”].)
                20           Accordingly, it is reasonable to assume, as Plaintiff alleges, that under Plaintiff’s theory,
                21           each wage statement issued during the relevant period of time allegedly failed to include
                22           the total hours worked. See Duberry v. J. Crew Grp., Inc., No. 2:14-cv-08810-SVW-
                23           MRW, 2015 WL 4575018, at *6-7 (C.D. Cal. July 28, 2015) (finding it reasonable to
                24           apply a 100% violation rate as to the inaccurate wage statement claim); Korn, 536 F.
                25           Supp. 2d at 1204 (courts may consider maximum penalty in calculating amount in
                26           controversy for wage statement claim).
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                   1               47.    Plaintiff’s wage statement claim is subject to a one-year statute of
                   2         limitations. See Blackwell v. SkyWest Airlines, Inc., 245 F.R.D. 453, 462 (S.D. Cal.
                   3         2007) (recovery under Section 226(a) constitutes a penalty and therefore is governed by
                   4         a one-year statute of limitations under California Code of Civil Procedure § 340(a)).
                   5         During the period of February 24, 2020 to April 16, 2021, Defendant issued
                   6         approximately 22,399 wage statements to 1,779 putative class members in California.
                   7         California Labor Code § 226(c) provides for penalties in the amount of “fifty dollars
                   8         ($50) for the initial pay period in which a violation occurs and one hundred dollars
                   9         ($100) per employee for each violation in a subsequent pay period, not exceeding an
                10           aggregate penalty of four thousand dollars ($4,000).” Accordingly, a conservative
                11           estimate of Plaintiff’s claim for Section 226(c) penalties would result in an amount in
                12           controversy for the statutory time period of at least $2,150,950 ([$50 X 1,779 initial
                13           violations] + [$100 X 20,620 subsequent violations] = $2,150,950).
                14                 iii.   Waiting Time Penalties
                15                 48.    Defendant is also entitled to base its calculations, for purposes of
                16           calculating the amount in controversy, on Plaintiff’s request in his Fifth Cause of Action
                17           for waiting time penalties under Labor Code § 203. (Complaint, Prayer for Relief ¶ 32.)
                18           Plaintiff alleges that “Defendants intentionally and willfully failed to pay Plaintiff and
                19           the other class members who are no longer employed by Defendants their wages, earned
                20           and unpaid, within seventy-two (72) hours of their leaving Defendants’ employ.”
                21           (Complaint, ¶ 84).
                22                 49.    Penalties under California Labor Code § 203(a) are calculated at an
                23           employee’s final daily rate of pay (i.e., the employee’s final wage rate times the
                24           employee’s average shift length) times the number of days of waiting time penalties (up
                25           to 30 days). See Mamika v. Barca, 68 Cal. App. 4th 487, 491-93 (1998). It therefore is
                26           reasonable to assume—for purposes of calculating the amount in controversy only—
                27           that none of the terminated putative class members were paid all of their wages owed
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                   1         upon termination. Taking the allegations in the Complaint as true, each of these
                   2         employees is entitled to 30 days’ wages in waiting time penalties under Labor Code §
                   3         203. See Cal. Lab. Code § 203; Giannini v. Northwestern Mut. Life Ins. Co., No. C 12-
                   4         77 CW, 2012 WL 1535196, at *4 (N.D. Cal. April 20, 2012) (“Defendants can properly
                   5         assume that all members of the former employee subclass were entitled to maximum
                   6         waiting time penalties under Labor Code section 203.”); Wilson v. Best Buy Co., Inc.,
                   7         No. 2:10-cv-3136-GEB-KJN, 2011 WL 445848, at *2 (E.D. Cal. Feb. 8, 2011) (finding
                   8         defendant provided plausible evidence to support all former employees were entitled to
                   9         thirty days of penalties based on allegation that plaintiff and class members did not
                10           receive their wages within 72 hours of termination); Korn, 536 F. Supp. 2d at 1206 n.4
                11           (applying full 30 days’ worth of wages for Section 203 penalties because plaintiff
                12           “cannot avoid satisfaction of the amount in controversy by arguing that the class
                13           plaintiffs may be awarded less than the statutory maximum.”).
                14                 50.    The statute of limitations on a claim for waiting time penalties is three
                15           years. See Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389, 1395 (2010) (“[N]o one
                16           disputes that when an employee sues to recover both unpaid final wages and the
                17           resulting section 203 penalties, the suit is governed by the same three-year limitations
                18           period that would apply had the employee sued to recover only the unpaid wages.”).
                19                 51.    During the period of February 24, 2018 to April 16, 2021, at least 3,092
                20           individuals employed by Defendant in California had their employment terminated.
                21           These terminated employees had an average final rate of pay of $16.86/hour.
                22           Accordingly, the amount in controversy at issue for Plaintiff’s claim for waiting time
                23           penalties is conservatively estimated to be at least $9,383,601.60 (3,092 former putative
                24           class members X $16.86 average rate of pay X 6 hours per day X 30 days). See Jones,
                25           2014 WL 1607636, at *3 (defendant could rely on assumption of 100% violation rate
                26           where plaintiff sought “the statutory penalty wages for each day [the class members]
                27           were not paid, up to a thirty (30) day maximum pursuant to California Labor Code
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                   1         section 203” and found the declaration in support of defendant’s removal was sufficient
                   2         where it set forth the total number of non-exempt employees within the class definition
                   3         and the average hourly wage over the relevant time period.)
                   4               iv.    The aggregate amount in controversy exceeds $5,000,000
                   5               52.    As set forth above, CAFA’s amount in controversy requirement is satisfied
                   6         by Plaintiff’s claims for meal and rest break premiums, wage statement penalties, and
                   7         waiting time penalties. Based on the above calculations, Defendant’s conservative
                   8         estimate of the aggregate minimum amount in controversy for these claims is
                   9         $16,787,474.60 without inclusion of the remaining causes of action.
                10
                                Causes of Action                                         Amount in Controversy
                11
                                Second and Third ‐ Meal and Rest Period Violations       $5,252,923.20
                12
                                Fifth ‐ Waiting Time Penalties                           $9,383,601.60
                13
                                Seventh ‐ Wage Statement Penalties                       $2,150,950
                14
                                Total                                                    $16,787,474.60
                15
                16                 53.    Plaintiff also seeks attorneys’ fees (see Complaint, Prayer for Relief, ¶¶ 8,
                17           15, 27, 51, 56) which the Court could consider and include in the amount in controversy
                18           since the California Labor Code allows recovery of such fees. See Galt G/S v. JSS
                19           Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (“We hold that where an underlying
                20           statute authorizes an award of attorneys’ fees, either with mandatory or discretionary
                21           language, such fees may be included in the amount in controversy.”). Attorneys’ fees
                22           awards in California wage and hour class actions can total millions of dollars. See, e.g.,
                23           McGuigan v. City of San Diego, 183 Cal. App. 4th 610, 638 (2010) (noting attorneys’
                24           fees paid in settlement of $1.6 million); Pellegrino v. Robert Half Int’l, Inc., 182 Cal.
                25           App. 4th 278, 287, 296 (2010) (affirming $558,926.85 in attorneys’ fees in exemption
                26           misclassification class action, but reversing as to multiplier); Vasquez v. California, 45
                27           Cal. 4th 243, 249 (2008) (affirming award of $727,000 in attorneys’ fees plus a
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LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
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                   1         multiplier that equates to total fees of $1,199,550 in class action involving violations of
                   2         a living wage ordinance, the California Labor Code, as well as unfair competition and
                   3         contract claims); Jasso v. Money Mart Express, Inc., No. 11-CV-5500 YGR, 2012 WL
                   4         699465 (N.D. Cal. Mar. 1, 2012) (“[I]t is well established that the Ninth Circuit ‘has
                   5         established 25% of the common fund as a benchmark award for attorney fees.’”
                   6         (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1029 (9th Cir. 1998)).
                   7               54.    Even without including Plaintiff’s claim for attorneys’ fees, Plaintiff’s
                   8         claims place more than $5,000,000 in controversy. Removal of this action is therefore
                   9         proper as the aggregate value of Plaintiff’s class claims for statutory damages, statutory
                10           penalties, and attorneys’ fees is well in excess of the CAFA jurisdictional requirement
                11           of $5,000,000. See 28 U.S.C. § 1332(d)(2).
                12                 55.    In light of the above, there is no question that the evidence shows that
                13           Plaintiff’s claims exceed the jurisdictional minimum. Accordingly, the “amount in
                14           controversy” requirement under CAFA is satisfied in this case.
                15           VII. NOTICE OF REMOVAL TO ADVERSE PARTY AND STATE COURT
                16                 56.    Following the filing of this Notice of Removal in the United States District
                17           Court for the Central District of California, written notice of such filing will be given
                18           by the undersigned to Plaintiff’s counsel of record, Edwin Aiwazian, and a copy of the
                19           Notice of Removal will be filed with the Clerk of the Orange County Superior Court in
                20           accordance with 28 U.S.C. § 1446(d).
                21           ///
                22           ///
                23           ///
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LITTLER MENDELSON P.C.                                                              NOTICE OF REMOVAL TO FEDERAL
      501 W. Broadway
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                   1                  WHEREFORE, Defendant hereby removes this action from the Superior Court
                   2         of the State of California, County of Orange, to the United States District Court for the
                   3         Central District of California.
                   4
                             Dated:             April 26, 2021
                   5                                                       LITTLER MENDELSON P.C.
                   6
                   7                                                       /s/ Jocelyn D. Hannah
                   8                                                       David J. Dow
                                                                           Jocelyn D. Hannah
                   9
                                                                           Attorneys for Defendants
                10                                                         FIRST TRANSIT, INC.
                11           4846-7193-6742.1 / 070993-1182

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         EXHIBIT A
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                    E ctronically Filed by Superior Court of California, County of Orange, 02/24/2021 10: 15:07 AM.
ii     40-2021-011855 -CU-OE-CXC - ROA# 2 - DAVID H. YAMASAKI, Clerk of the Court By Georgina Ramirez, Deputy Clerk.
·~
,,..



                    1 Edwin Aiwazian (SBN 232943)
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                    2 410 West Arden Avenue, Suite 203
                      Glendale, California 91203
                    3 Tel: (818) 265-1020 / Fax: (818) 265-1021
                    4 Attorneys for Plaintiff

                    5
                                                                                 Assigned for All Purposes
                    6                                                                          Judge Glenda Sanders

                    7                                                                           CX-1 □ 1


                    8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9                                FOR THE COUNTY OF ORANGE
                   10   MASSOUD AZIMIHASHEMI, individually,             Case No.:   30-2021-01185526-CU-OE-CXC
                        and on behalf of other members of the
                   11   general public similarly situated;              CLASS ACTION COMPLAINT FOR
                                                                        DAMAGES
                   12                 Plaintiff,
                                                                         ( 1) Violation of California Labor Code
                   13          vs.                                            §§ 510 and 1198 (Unpaid
                                                                              Overtime);
                   14 FIRST TRANSIT SERVICES, INC, an                    (2) Violation of California Labor Code
                      unknown busine~s entity; FIRST TRANSIT,                 §§ 226.7 and 512(a) (Unpaid Meal
                   15 INC., an unknown business entity; FIRST                 Period Premiums);
                      GROUP AMERICA, an unknown business                 (3) Violation of California Labor Code
                   16 _entity; and DOES 1 through 100, inclusive,             § 226.7 (Unpaid Rest Period
                                                                              Premiums);
                   17                 Defendants.                        (4) Violation of California Labor Code
                                                                              §§ 1194, 1197,and 1197.1 (Unpaid
                   18                                                         Minimum Wages);
                                                                         (5) Violation of California Labor Code
                   19                                                         §§ 201 and 202 (Final Wages Not
                                                                              Timely Paid);
                   20                                                  · (6) Violation of California Labor Code
                                                                              § 204 (Wages Not Timely Paid
                   21                                                         During Employment);
                                                                         (7) Violation of California Labor Code
                   22                                                         § 226(a) (Non-Compliant Wage
                                                                              Statements);
                   23                                                    (8) Violation of California Labor Code
                                                                              § 1174(d) (Failure To Keep
                   24                                                         Requisite Payroll Records);
                                                                         (9) Violation of California Labor Code
                   25                                                         §§ 2800 and 2802 (Unreimbursed
                                                                              Business Expenses);
                   26                                                    (10) Violation of California Business &
                                                                              Professions Code §§ 17200, et seq.
                   27
                                                                         DEMAND FOR JURY TRIAL
                   28



                                                CLASS ACTION COMPLAINT AND DEMAND_ FOR JURY TRJAL
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 23 of 72 Page ID #:23


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I



                              I           COMES NOW, Plaintiff MASSOUD AZIMIHASHEMI ("Plaintiff'), individually, and

                              2   on behalf of other members of the general public similarly situated, and alleges as follows:

                              3                                   JURISDICTION AND VENUE
{1),.
                              4           1.      This class action is brought pursuant to the California Code of Civil Procedure

                              5   section 382. The monetary damages and restitution sought by Plaintiff exceeds the minimal

                              6 jurisdiction limits of the Superior Court and will be established according to proof at trial. The

                              7   "amount in controversy" for the named Plaintiff, including but not limited to claims for
;;
                              8 compensatory damages, restitution, penalties, wages, premium pay, and pro rata share of

                              9   attorneys' fees, is less than seventy-five thousand dollars ($75,000).

                             10           2.      This Court has jurisdiction over this action pursuant to the California

        u                    II   Constitution, Article VI, Section I 0, which grants the superior court "original jurisdiction in all
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        li5l   <I)<')        12   other causes" except those given by statute to other courts. The statutes under which this
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        r,J    g      ·2     13   action is brought do not specify any other basis for jurisdiction.
        S;     C:
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        .. < ·-              14          3.      This Court has jurisdiction over Defendant because, upon information and
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        i:i:: < -            15   belief, Defendant is a citizen of California, has sufficient minimum contacts in California, or
        li5l -        ~C:
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        ~~6                  16   otherwise intentionally avails itself of the California market so as to render the exercise of
        <~
        .J                   17 jurisdiction over it by California courts consistent with traditional 'notions of fair play and

                             18   substantial justice.

                             19          4.       Venue is proper in this Court because, upon information and belief, Defendant

                             20   maintains offices, has agents, employs individuals, and/or transacts business in the State of

                             21   California, County of Orange. The majority of acts and omissions alleged herein relating to

                             22   Plaintiff and the other class members took place in the State of California, including the County

                             23   of Orange. At all relevant times, Defendant maintained its headquarters/"nerve center" within

                             24   the State of California, County of Orange.

                             25                                                PARTIES

                             26          5.      Plaintiff is an individual residing in the State of California.

                             27          6.      Defendants FIRST TRANSIT SERVICES, INC, FIRST TRANSIT, INC., FIRST

                             28   GROUP AMERICA, at all times herein mentioned, were and are, an employer whose


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      1 employees are engaged throughout the State of California, including the County of Orange.

      2           7.       At all relevant times, Defendants FIRST TRANSIT SERVICES, INC, FIRST

      3    TRANSIT, INC., FIRST GROUP AMERICA were the "employer" of Plaintiff within the

      4    meaning of all applicable California laws and statutes.

      5           8.       At all times herein relevant, Defendants FIRST TRANSIT SERVICES, INC,

      6    FIRST TRANSIT, INC., FIRST GROUP AMERICA, and DOES 1 through 100, and each of

      7    them, were the agents, partners, joint venturers, joint employers, representatives, servants,

      8    employees, successors-in-interest, co-conspirators and/or assigns, each of the other, and at all

      9    times relevant hereto were acting within the course and scope of their authority as such agents,

     10    partners, joint venturers, joint employers, representatives, servants, employees, successors, co-

     11    conspirators and/or assigns, and all acts or omissions alleged herein were duly committed with

     12    the ratification, knowledge, permission, encouragement, authorization and/or consent of each

     13    defendant designated as a DOE herein. ·

     14           9.       The true names and capacities, whether corporate, associate, individual or

     1'5   otherwise, of defendants DOES 1 through 100, inclusive; are unknown to Plaintiff who sue

     16    said defendants by'such fictitious names. Plaintiff is informed and believes, and based on that

     17    information and belief alleges, that each of the defendants designated as a DOE is legally

     18    responsible for the events and happenings referred to in this Complaint, and unlawfully caused

     19    the injuries and damages to Plaintiff and the other class members as alleged in this Complaint.

     20    Plaintiff will seek leave of court to amend this Complaint to show the true names and

     21    capacities when the same have been ascertained.

     22           10.      Defendant FIRST TRANSIT SERVICES, INC, FIRST TRANSIT, INC., FIRST

     23    GROUP AMERICA and DOES I through 100 will hereinafter collectively be referred to as

     24    "Defendants."

     25           11.      Plaintiff further alleges that Defendants directly or indirectly controlled or

     26    affected the working conditions, wages, working hours, and conditions of employment of

     27    Plaintiff and the other class members so as to make each of said Defendants employers liable

     28    under the statutory provisions set forth herein.


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                            .1                                 CLASS ACTION ALLEGATIONS

                             2          12.     Plaintiff bring this action on her own behalf and on behalf of all other mem hers

                             3   of the general public similarly situated, and, thus, seeks class certification under California

                             4   Code of Civil Procedure section 382.
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                             5          13.     The proposed class is defined as follows:

                             6                  All current and former hourly-paid or non-exempt employees who worked for

                             7                  any of the Defendants within the State of California at any time during the

                             8                  period from four years preceding the filing of this Complaint to final judgment
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                             9                  and who reside in California.

                            10                  SUBCLASS A. All current and former hourly-paid or non-exempt employees

                            11                  who worked for any of the Defendants within the State of California at any time
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          r.:l   Q)   <'l   12                  during the period from four years preceding the filing of this Complaint to final
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                      .,    13                  judgment who were subject to Defendants' practice ofrounding time recorded
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                            14                  for coin'pensatiori of regular/overtime wages and who reside in California..
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          ~<-               15                  SUBCLASS B. All current and former hourly-paid or non-exempt employees
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          ; ~G              16                  who worked for any of the Defendants within the State of California at any time
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   ;- ~   .I                17                · during the period from four years preceding the filing of this Complaint to final

                            18                  judgment who were required by Defendants to stay on Defendant's premises for

                            19                  rest breaks and who reside.in California.

                            20                  SUBCLASS C. All current and former hourly-paid or non-exempt employees
wi•·
                            21                  who worked for any of the Defendants within the State of California at any time

                            22                  during the period from four years preceding the filing of this Complaint to final

                            23                  judgment who rec'eived overtime compensation at a rate lower than their

                            24                  respective regular rate of pay because Defendants failed to include all non-
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                            25                  discretionary bonuses or other incentive-based compensation in the calculation

                            26                  of the regularrate of pay for overtime pay purposes and who reside in

                            27                  California.

                            28          14.     Plaintiff reserves the right to establish other subclasses as appropriate.


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                                               15.       The class is ascertainable and there is a well-defined community of interest in

                                   2   the litigation:

                                   3                     a.       Numerosity: The class members are so numerous thatjoinder of all class

                                   4                               members is impracticable. The membership of the entire class is

 -ii                               5                               unknown to Plaintiff at this time; however, the class is estimated to be
     •
                                   6                               greater than fifty (50) individuals and the identity of such membership is

                                   7                               readily ascertainable by inspection of Defendants' employment records.

                                   8                     b.        Typicality: Plaintiff's claims are typical of all other class members' as

                                   9                               demonstrated herein. Plaintiff will fairly and adequately protect the
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                                  10                               interests of the other class members with whom she has a well-defined

                                  11                               community of interest.
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             r.;i    ., .....     12                     C.        Adequacy: Plaintiff will fairly and adequately protect the interests of
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     ..      ~       fJ')" ;;::
 fa          !;I.)"' .,           13                               each class member, with whom she has a well-defined community of
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              ... <        :.=    14                               interest and typicality of claims, as demonstrated herein. Plaintiff has no
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                                  15                               interest that is antagonistic to the other class members. Plaintiff's
             > ., .,  "'    C


             ~~a                  16                               attorneys, the proposed class counsel, are versed in the rules governing
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     ....                         17                               class action discovery, certification, and settlement. Plaintiff has
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                                  18                               iricurred; and during the pendency of this action will continue to incur,

                                  19                               costs and attorneys' fees, that have been, are, and will be necessarily

                                  20                               expended for the prosecution of this action for the substantial benefit of

 ,;u:
                                  21                               each class member.
  ,,
                                  22                     d.        Superiority: A class action is superior to other available methods for the

                                  23                               fair and efficient adjudication of this litigation because individual joinder

                                  24                               of all class members is impractical.

                                  25                     e.        Public Policy Considerations: Certification of this lawsuit as a class
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                                  26                               action will advance public policy objectives. Employers of this great

                                  27                               state violate employment and labor laws every day. Current employees

                                  28                               are often afraid to assert their rights out of fear of direct or indirect


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                   1                            retaliation. However, class actions provide the class members who are

                   2                            not named in the complaint anonymity that allows for the vindication of.

                  3                             their rights.

                  4           16.    There are common questions of law and fact as to the class members that

                   5   predominate over questions affecting only individual members. The following common

                   6   questions of law or fact, among others, exist as to the members of the class:

                   7                  a.        Whether Defendants' failure to pay wages, without abatement or

                   8                            reduction, in accordance with the California Labor Code, was willful;

                   9                  b.         Whether Defendants' had a corporate policy and practice of failing to

                  10                            pay their hourly-paid or non-exempt employees within the State of

                  11                            California for all hours worked and missed (short, late, interrupted,
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                                                and/or missed altogether) meal periods and rest breaks in violation of

                                                California law;
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... < ·-          14                  c.         Whether Defendants required Plaintiff and the other class members to
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                  15                            work over •eight (8) hours per day and/or over forty (40) hours per week
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~~G               16                            and failed to pay the legally required overtime compensation to Plaintiff
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                  17                            and the other class members;

                  18                  d..        Whether Defendants deprived Plaintiff and the other class members of

                  19                            meal and/or rest periods or required Plaintiff and the other class

                  20                            members to work during meal and/or rest periods without compensation;

                  21                  e.         Whether Defendants failed to pay minimum wages to Plaintiff and the

                  22                             other class members for all hours worked;

                  23                  f.         Whether Defendants failed to pay all wages due to Plaintiff and the other

                  24                            class members within the required time upon their discharge or

                  25                            resignation; ·

                  26                  g.         Whether Defendants failed to timely pay all wages due to Plaintiff and

                  27                            the other class members during their employment;

                  28                  h.         Whether Defendants complied with wage reporting as required by the


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                1                              California Labor Code; including, inter alia, section 226;

               2                      i.        Whether Defendants kept complete and accurate payroll records as

                3                               required by the California Labor Code, including, inter alia, section

               4                                1174(d);

                5                     J.        Whether Defendants failed to reimburse Plaintiff and the other class

                6                               members for necessary business-related expenses and costs;

                7                     k.        Whether Defendants' conduct was willful or reckless;

                8                     l.        Whether Defendants engaged in unfair business practices in violation of

                9                              California Business & Professions Code section 17200, et seq.;

               10                     m.       The appropriate amount of damages, restitution, and/or monetary

               11                               penalties resulting from Defendants' violation of California law; and

               12                     n.        Whether Plaintiff and the other class members are entitled to

               13                              compensatory damages pursuant to the California Labor Code.
               14                                          GENERAL ALLEGATIONS

               15          17.        At all relevant times set forth herein-, Defendants employed Plaintiff and other

               16 persons as hourly-paid or non-exempt employees within the State of California, including the

               17 County of Orange.
               18          18.        Defendants, jointly and severally, employed Plaintiff as an hourly-paid, non-

               19   exempt employee, from approximately December 2019 to approximately March 2020, in the

              20    State of California, County of Orange.
              21           19.        Defendants hired Plaintiff and the other class members, classified them as

              22    hourly-paid or non-exempt employees, and failed to compensate them for all hours worked and

              23    missed meal periods and/or rest breaks.

,_,           24           20.        Defendants had the authority to hire and terminate Plaintiff and the other class
  ,-'                         .   .                          .

              25    members, to s~t work rules and conditions governing Plaintiffs and the other class members'

              26    employment, and to supervise their daily employment activities.
              27           21.        Defendants exercised sufficient authority over the terms and conditions of

              28    Plaintiffs and the other class members' employment for them to be joint employers of Plaintiff
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            1 and the other class members.

            2          22.     Defendants directly hired and paid wages and benefits to Plaintiff and the other

            3   class members.

            4          23.     Defendants continue to employ hourly-paid or non-exempt employees within the

            5   State of California.

            6          24.     Plaintiff and the other class members worked over eight (8) hours in a day,

            7   and/or forty (40) hours in a week during their employment with Defendants.

            8          25.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

            9   engaged in a pattern and practice of wage abuse against their hourly-paid or non-exempt

           10   employees within the State of California. This pattern and practice involved, inter a/ia, failing

           11   to pay them for all regular and/or overtime wages earned and for missed meal periods and rest

           12   breaks in violation of California law.

           13          26.     Plaintiff is· informed and believes, and based thereon alleges, that Defendants

           14   knew or should have known that Plaintiff and the other class members were entitled to receive

           15   certain wages for overtime compensation and that they were not receiving accurate overtime

           16   compensation for all overtime hours worked.
.,         17          27 .    Plaintiff is informed and believes, and based thereon alleges, that Defendants

           18   failed to provide Plaintiff and the other class members ail required rest and meal periods during

           19   the relevant time period as required under the Industrial Welfare Commission Wage Orders

          20    and thus they are entitled to any and'all applicable penalties.

          21           28.     Plaintiff is informed and believes, and based thereon alleges; that Defendants

          22    knew or should have known that Plaintiff and the other class members were entitled to receive

          23    all meal periods or payment of one additional hour of pay at Plaintiffs and the other class

          24    member's regular rate of pay when a meal period was missed, and they did not receive all meal

          25    periods or payment of one additional hour of pay at. Plaintiffs and the other class member's

          26    regular rate of pay when a meal period was missed.

          27           29.     Plaintiff is informed and believes,· and based thereon alleges, that Defendants

          28    knew or should have known that Plaintiff and the other class members were entitled to receive


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                  1 all rest periods or payment of one additional hour of pay at Plaintiffs and the other class

                 2    member's regular rate of pay when a rest period was missed, and they did not receive all rest

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                  3   periods or payment of one additional hour of pay at Plaintiff's and the other class members'
 ~
                 4    regular rate of pay when a rest period was missed.

                  5          30.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                  6   knew or should have known that Plaintiff and the other class members were entitled to receive

                  7   at least minimum wages for compensation and that they were not receiving at least minimum

                  8   wages for all hours worked.

                  9          31.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                10    knew or should have known that Plaintiff and the other class members were entitled to receive

                 11   all wages owed to them upon discharge or resignation, including overtime and minimum wages
 .,. . .
.·/
                12    and meal and rest period premiums, and they did not, in fact, receive all such wages owed to

                13    them at the time of their discharge or resignation.

                14           32.    · Plaintiff is informed and believes, and based thereon alleges, that Defendants

                15    knew or should have known that Plaintiff and the other class members were entitled to receive

                16    all wages owed to them during their employment. Plaintiff and the other class members did

                 17   not receive payment of all wages, including overtime and minimum wages and meal and rest

                 18   period premiums, within any time permissible under California Labor Code section 204.

                 19          33.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                20    knew or should have known that Plaintiff and the other class members were entitled to receive

                21    complete and accurate wage statements in accordance with California law, but, in fact, they did

                22    not receive complete and accurate wage statements from Defendants.      The deficiencies
                23    included, inter aha, the failure to include the total number of hours worked by Plaintiff and the

                24    other class members.

                25           34.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                26    knew or should have known that Defendants had to keep complete and accurate payroll records

                27    for Plaintiff and the other class members in accordance with California law, but, in fact, did

                28    not.keep complete and accurate payroll records.


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                   1          35.     Plaintiff is informed and believes, and based thereon alleges, that Defendants

                   2   knew or should have known that Plaintiff and the other class members were entitled to

                   3   reimbursement for necessary business-related expenses.

                   4          36.     Plaintiff is informed and believes, and based-thereon alleges, that Defendants

                   5   knew or should have known that they had a duty to compensate Plaintiff and the other class

                   6   members pursuant to California law, and that Defendants had the financial ability to pay such

                   7   compensation, but willfully, knowingly, and intentionally failed to do so, and falsely

                   8   represented to Plaintiff and the other class members that they were properly denied wages, all

                   9   in order to increase Defendants' profits.

                  10          37.     During the relevant time period, Defendants failed to pay overtime wages to

                  11   Plaintiff and the other class members for all overtime hours worked. Plaintiff and the other
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r.l "             12   class members were required to work more than eight (8) hours per day and/or forty (40) hours
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~   rJ'.)";;::    13   per week without overtime compensation for all overtime hours worked.
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                  14          38.     During the relevant time period, Defendants failed to provide all requisite
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                  15   uninterrupted meal and rest periods to Plaintiff and the other class members.
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> " "
~~a               16          39.     During the relevant time period, Defendants failed to pay Plaintiff and the other
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..J               17   class members at least minimum wages for all hours worked.

                  18          40.     During the relevant time period, Defendants failed to pay Plaintiff and the other

                  19   class members all wages owed to them upon discharge or resignation.

                  20          41.     During the relevant time period, Defendants failed to pay Plaintiff and the other

                  21   class members all wages within any tfme permissible under California law, including, inter

                  22   alia, California Labor Code section 204.
                  23          42.     During the relevant time period, Defendants failed to provide complete or

                  24   accurate wage statements to Plaintiff and the other class members.

                  25          43.     During the relevant time period, Defendants failed to keep complete or accurate

                  26   payroll records for Plaintiff and the other class members.

                  27          44.     During the relevant time period, Defendants failed to reimburse Plaintiff and the

                  28   other class members for all necessary business-related expenses and costs.


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              1            45.    During the relevant time period, Defendants failed to properly compensate

              2   Plaintiff and the other class members pursuant to California law in order to increase

              3   Defendants' profits.
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f,.~          4            46.    California Labor Code section 218 states that nothing in Article 1 of the Labor
'
              5   Code shall limit the right of any wage claimant to "sue directly ... for any wages or penalty

              6   due to him [or her] under this article."

              7                                    FffiST CAUSE OF ACTION

              8                       (Violation of California Labor Code §§ 510 and 1198)

              9             · (Against FffiST TRANSIT SERVICES, INC., FffiST TRANSIT, INC.,

             10                       FffiST GROUP AMERICA and DOES 1 through 100)

             11            47.    Plaintiff incorporates by reference the allegations contained in Paragraphs 1

             12   through 46, and each and every part thereof with the same force and effect as though fully set

             13   forth herein.

             14            48.    California Labor Code section 1198 and the applicable Industrial Welfare

             15   Commission ("IWC") Wage Order provide that it is unlawful to employ persons without

             16   compensating them at a rate of pay either time-and-one-half or two-times that person's regular

             17   rate of pay, depending on the number of hours worked by the person on a daily or weekly

             18   basis.

             19            49.    Specifically, the applicable IWC Wage Order provides that Defendants are and

             20   were required to pay Plaintiff and the other class· members employed by Defendants, and

             21   working more than eight (8) hours in a day or more than forty (40) hours in a workweek, at the

             22   rate of time-and-one-half for all hours worked in excess of eight (8) ·hours in a day or more

             23   than forty ( 40) hours in a workweek.

             24            50.    The applicable IWC Wage Order further provides that Defendants are and were

             25   required to pay Plaintiff and the other class members overtime compensation at a rate of two

             26   times their regular rate of pay for all hours worked in excess of twelve (12) hours in a day.

             27            51.    California Labor Code section 510 codifies the right to· overtime compensation

             28   at one-and-one-half times the regular hourly rate for hours worked in excess of eight (8) hours


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       l   in a day or forty (40) hours in a week or for the first eight (8) hours worked on the seventh day

       2   of work, and to overtime compensation at twice the regular hourly rate for hours worked in

       3   excess of twelve (12) hours in a day or in excess of eight (8) hours in a day on the seventh day

       4   ofwork.

       5           52.     · During the relevant time period, Plaintiff and the other class members worked in

       6   excess of eight (8) hours in a day, and/or in excess of forty (40) hours in a week.

       7           53.      During the relevant time period, Defendants intentionally and willfully failed to

       8   pay overtime wages owed to Plaintiff and the other class members.

       9           54. ·    Defendants' failure to pay Plaintiff and the other class members the unpaid

      l O balance of overtime compensation, as required by California laws, violates the provisions of
      11   California Labor Code sections 510 and 1198, and is therefore unlawful.

      12           55.      Pursuant to California Labor Code section 1194, Plaintiff and the other class

      13   members are entitled to recover unpaid overtime compensation, as well as interest, costs, and

      14   attorneys' fees.

      15                                    SECOND CAUSE OF ACTION
      16                       (Violation of California Labor Code§§ 226.7 and 512(a))

      17             (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

      18                        FIRST GROUP AMERICA and DOES 1 through 100)

      19           56.      Plaintiff incorporates ·by reference the allegations contained in paragraphs 1

      20   through 55; and each and every part thereof with the same force and effect as though fully set

      21   forth herein.

      22           57.      At all relevant times, the IWC Order and California Labor Code sections 226.7

      23   and 5 l2(a) were applicable to Plaintiffs and the other class members' employment by

      24   Defendants.

      25          58.       At all relevant times, California Labor Code section 226. 7 provides that no

      26   employer shall require an employee to work during any meal or rest period mandated by an

      27   applicable order of the California IWC.

      28           59.      At all relevant times, the applicable IWC Wage Order and California Labor


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        1 Code section 512(a) provide that an employer may not require, cause or permit an employee to

        2    work for a work period of more than five (5) hours per day without providing the employee

        3    with a meal period of not less than thirty (30) minutes, except that if the total work period per

        4    day of the employee is no more than six (6) hours, the meal period may be waived by mutual

        5    consent of both the employer and employee.

        6             60.    At all relevant times, the applicable IWC Wage Order and California Labor

      _7     Code section 512(a) further provide that an employer may not require, cause or permit an

        8    employee to work for a work period of more than ten ( 10) hours per day without providing the

        9    employee with a second uninterrupted meal period of not less than thirty (30) minutes, except

      10     that if the total hours worked is no more than twelve (12) hours, the second meal period may

      11     be waived by mutual consent of the employer and the employee only if the first meal period

      12     was not waived.

      13              61.    During the relevant time period, Plaintiff and the other class members who were

      14     scheduled fo work for a period of time no longer·than six (6) hours, and who did not waive

      15     their legally-mandated meal periods by mutual consent, were required to work for periods

      16     longer than five (5) hours without an uninterrupted meal period of not less than thirty (30)

      17     minutes and/or rest period.

      18              62_    During the relevant time period; Plaintiff and the other class memhers who wen~

      19     scheduled to work for a period of time in excess of six (6) hours were required to work for

      ?..O   periods longer than five (5) hours without an uninterrupted meal period of not less than thirty

      21     (30) minutes and/or rest period.

      22              63.    During the relevant time period, Defendants intentionally and willfully required

      23     Plaintiff and the other class members to work during meal periods and failed to compensate

      24     Plaintiff and the other class members the full meal period premium for work performed during

      25     meal periods.

     26               64.    During the relevant time period, Defendants failed to pay Plaintiff and the other

      27     class members the full meal period premium due pursuant to California Labor Code section

      28     226.7.


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       1          65.       Defendants' conduct violates applicable IWC Wage Order and California Labor

       2   Code sections 226.7 and 512(a).

       3          66.       Pursuant to applicable IWC Wage Order and California Labor Code section

       4   226. 7(b), Plaintiff and the other class members are entitled to recover from De.fendants one

       5   additional hour of pay at the employee's regular rate of compensation for each work day that

       6   the meal or rest period is not provided.

       7                                      THIRD CAUSE OF ACTION

       8                              (Violation of California Labor Code§ 226.7)

       9             (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

      10                         FIRST GROUP AMERICA and DOES 1 through 100)

      11          67.       Plaintiff incorporates by reference the allegations contained in paragraphs 1

      12   through 66, and each and every part thereof with the same force and effect as though folly set

      13   forth herein.

      14          68.       At all times herein set forth, the applicable IWC Wage Order and California

      15   Labor Code section 226.7 were applicable to Plaintiffs and the other class members'

      16   employment by Defendants.

      17          69.      · At all relevant times, California Labor Code sectio·n 226.7 provides that no

      18   employer shall require an employee to work during any rest period mandated by an applicable

      19   order of the California IWC.

      20          70.       At all relevant times; the applicable IWC Wage Order provides that "[e]very

      21   employer shall authorize and permit all employees to take rest periods, which insofar as

      22   practicable shall be in the middle of each work period" and that the "rest period time shall be

      23   based on the total hours worked daily at the rate often (10) minutes net rest time per four (4)

      24   hours or major fraction ·thereof' unless the total daily work time is less than three and one-half

      25   (3 ½) hours.

      26          71.       During the relevant time period, Defendants required Plaintiff and other class

      27   members to work four (4) or more hours without authorizing or permitting a ten (10) minute

      28   rest period per each four (4) hour_ period worked.


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       1           72.     During the relevant time period, Defendants willfully required Plaintiff and the

       2   other class members to work during rest periods and failed to pay Plaintiff and the other class

       3   members the full rest period premium for work performed during rest periods.

       4           73.     During the relevant time period, Defendants failed to pay Plaintiff and the other

       5   class members the full rest period premium due pursuant to California Labor Code section

       6   226.7

       7           74.     Defendants' conduct violates applicable IWC Wage Orders and California

       8   Labor Code section 226.7.

       9           75.     Pursuant to the applicable IWC Wage Orders and California Labor Code section

      10   226. 7(c), Plaintiff and the other class members are entitled to recover from Defendants one

      11   additional hour of pay at the employees' regular hourly rate of compensation for each work

      12   day that the rest period was not provided.

      13                                   FOURTH CAUSE OF ACTION

      14                   (Violation of California Labor Code§§ 1194, 1197, and 1197.1)

      15             (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

      16                       FIRST GROUP AMERICA and DOES 1 through 100)
      17           76.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

      18   throu_gh 75, and each and every part thereof with the same force and effect as though fully set

      19   forth herein.

      20           77.     At all relevant times, California Labor Code sections 1194, 1197, and 1197 .1

      21   provide that the minimum wage to be paid to employees, and the payment of a lesser wage

      22   than the minimum so fixed is unlawful. ,. ·

      23           78.     During the relevant time period, Defendants failed to pay minimum wage to

      24   Plaintiff and the other class members as required, pursuant to Californ.ia Labor Code sections

      25   1194, 1197, and 1197.1.

      26           79.     Defendants' failure to pay Plaintiff and the other class members the minimum

      27   wage as required violates California Labor Code sections 1194, 1197, and 1197.1. Pursuant to

      28   those sections Plaintiff and the other class members are entitled to recover the unpaid balance


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       1 of their minimum wage compensation as well as interest, costs, and attorney's fees, and

       2   liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon.

       3           80.      Pursuant to California Labor Code section 1197 .1, Plaintiff and the other class

       4   members are entitled to recover a penalty of $100.00 for the initial failure to timely pay each

       5   employee minimum wages, and $250.00 for each subsequent failure to pay each employee

       6   minimum wages.

       7           81.      Pursuant to California Labor Code section 1194.2, Plaintiff and the other class

       8   members are entitled to recover liquidated damages in an amount equal to the wages

       9   unlawfully unpaid and interest thereon.

      10                                      FIFTH CAUSE OF ACTION

      11                         (Violation of California Labor Code§§ 201 and 202)
      12               (Against FmST TRANSIT SERVICES, INC., FmST TRANSIT, INC.,
      13                      . FmST GROUP AMERICA and DOES 1 through 100)

      14           82.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

      15   through 81, and each and every part thereof with the same force and effect as though fully set

      16   forth herein.

      17           83.     · At all relevant times herein set forth, California Labor Code sections 201 and

      18   202 provide that if an employer discharges an employee, the wages earned and unpaid at the

      19   time of discharge are· due and payable immediately, and if an employee quits his or her

      20   employment, his or her wages shall become due and payable not later than seventy-two (72)

      21   hours thereafter, unless the employee has given seventy-two (72) hours' notice of his or her

      22   intention to quit, in which case the employee is entitled to his or her wages at the time of

      23   quitting.

      24           84.     · During the relevant time period, Defendants intentionally and willfully failed to

      25   pay Plaintiff and the other class members who are no longer employed by Defendants their

      26   wages, earned and unpaid, within seventy-two (72) hours of their leaving Defendants' employ.

      27           85.     · Defendants' failure to pay Plaintiff and the other class members who are no
      28   longer employed by Defendants' their wages, earned and unpaid, within seventy-two (72)


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       1 hours of their leaving Defendants' employ, is in violation of California Labor Code sections

       2    201 and 202.

       3           86.      California Labor Code section 203 provides that if an employer willfully fails to

       4    pay wages owed, in accordance with sections 201 and 202, then the wages of the employee

       5    shall continue as a penalty from the due date thereof at the same rate until paid or until an

       6 action is commenced; but the wages shall not continue for more than thirty (30) days.

       7           87.      Plaintiff and the other class members are entitled to recover from Defendants the

       8    statutory penalty wages for each day they were not paid, up to a thirty (30) day maximum

       9    pursuant to California Labor Code section 203.

      10                                     SIXTH CAUSE OF ACTION

      11                              (Violation of California Labor Code § 204)

      12              (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

      13                        FIRST GROUP AMERICA and DOES 1 through 100)

      14           88.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

      15    through 87, and each and every part thereof with the same force and effect as though fully set

      16    forth herein.

      17           89.      At all times herein set forth, California Labor Code section 204 provides that all

      18    wages earned by any person in any employment between the 1st and 15th days, inclusive, of

      19    any calendar month, other than those wages due upon termination of an employee, are due and

      20    payable between the 16th and the 26th day of the month during which the labor was

      21    performed.

     . 22          90.      At all times herein set forth, California Labor Code section 204 provides that all

      23    wages earned by any person in any employment between the 16th and the last day, inclusive,

      24    of any calendar month, other than those wages due upon termination of an employee, are due

      25    and payable between the 1st and the 10th day of the following month.

      26           91.      At all times herein set forth, California Labor Code section 204 provides that all

      27    wages earned for labor in excess of the normal work period shall be paid no later than the

      28    payday for the next regular payroll period.


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       1          92.      During the relevant time period, Defendants intentionally and willfully failed to

       2   pay Plaintiff and the other class members all wages due to them, within any time period

       3   permissible under California Labor Code section 204.

       4          93.      Plaintiff and the other class members are entitled to recover all remedies

       5   available for violations of California Labor Code section 204.

       6                                  SEVENTH CAUSE OF ACTION

       7                            (Violation of California Labor Code§ 226(a))

       8             (Against FmST TRANSIT SERVICES, INC., FmST TRANSIT, INC.,

       9                       FmST GROUP AMERICA and DOES 1 through 100)

      10          94.      Plaintiff incorporates by reference the allegations contained in paragraphs 1

      11   through 93, and each and every part thereof with the same force and effect as though fully set

      12   forth herein.

      13          95.      At all material times set forth herein, California Labor Code section 226(a)

      14   provides that every employer shall furnish each of his or her employees an accurate itemized

      15   statement in writing showing ( 1) gross wages earned, (2) total hours worked by the employee,

      16   (3) the number of piece-rate units earned and any applicable piece rate if the employee is paid

      17   on a piece-rate basis, ( 4) all deductions, provided that all deductions made on written orders of

      18   the employee may be aggregated and shown as one item, (5) net wages earned, (6) the

      19   inclusive dates of the period for which the employee is paid, (7) the name of the employee and

      20   his or her social security number, (8) the name and address of the legal entity that is the

      21   employer, and (9) all applicable hourly rates in effect during the pay period and the

      22   corresponding number of hours worked at each hourly rate by the employee. The deductions

      23   made from payments of wages shall be recorded in ink or other indelible form, properly dated,

      24   showing the month, day, and year, and a copy of the statement or a record of the deductions

      25   shall be kept on file by the employer for at 'ieastthree years at the place of employment or at a

      26   central location within the State of California.

      27          96.      Defendants have intentionally and willfully failed to provide Plaintiff and the

      28   other class members with complete and accurate wage statements. The deficiencies include,


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               1   but are not limited to: the failure to include the total number of hours worked by Plaintiff and

               2   the other class members.

               3          97.      As a result of Defendants' violation of California Labor Code section 226(a),

               4   Plaintiff and the other class members have suffered injury and damage to their statutorily-

               5   protected rights.

               6          98.      More specifically, Plaintiff and the other class members have been injured by

               7   Defendants' intentional and willful violation of California Labor Code section 226(a) because

               8   they were denied both their legal right to receive, and their protected interest in receiving,

               9   accurate and itemized wage statements pursuant to California Labor Code section 226(a).

                          99.      Plaintiff and the other class members are entitled to recover from Defendants the

              11   greater of their actual damages caused by Defendants' failure to comply with California Labor

              12   Code section 226(a), or an aggregate penalty not exceeding four thousand dollars per

              13   employee.

              14        · 100.     Plaintiff and the other class members are also entitled to injunctive relief to

              15   ensure compliance with this section, pursuant to California Labor Code section 226(h).

              16                                    EIGHTH CAUSE OF ACTION

              17                            (Violation of California Labor Code§ 1174(d))

              18             (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

              19                        FIRST GROUP AMERICA and DOES 1 through 100)
             20            10 L    Plaintiff incorporates by reference the allegations contained in paragraphs 1

             21    through 100, ahd each and every ·part thereof with the same force and effect as though fully set

             22    forth herein.

             23            102.:   Pursuant to California Labor Code section 1 l 74(d)~ an· employer shall keep, at a

             24    central location in the state or at the plants or establishments at which employees are

             25    employed, payroll records showing the hours worked daily by and the wages paid to, and the
 .i·
h,l~·        26    number of piece-rate units earned by and any applicable piece rate paid to, employees
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             27    employed at the respective plants or establishments. These records shall be kept in accordance

             28    with rules established for this purpose by the commission, but in any case shall be kept on file


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                              1 for not less than two years.
                              2           103.    Defendants have intentionally and willfully failed to keep accurate and complete

                              3 payroll records showing the hours worked daily and the wages paid, to Plaintiff and the other

                              4 class members.
                              5           104.    As a result of Defendants' violation of California Labor Code section 1174(d),
i
                              6   Plaintiff and the other class members have suffered injury and damage to their statutorily-

                              7   protected rights.
                              8           105.    More specifically, Plaintiff and the other class members have been injured by

                              9 Defendants' intentional and willful violation of California Labor Code section l 174(d) because

                             10 they were denied both their legal right and protected interest, in having available, accurate and

                             11   complete payroll records pursuant to California Labor Code section 1174(d).
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          f;a;l   ., ,....   12                                     NINTH CAUSE OF ACTION
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                             13                        (Violation of California Labor Code §§ 2800 and 2802)
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          =~~                15                       · FIRST GROUP AMERICA and DOES 1 through 100)
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          ~~6                16           106.    Plaintiff incorporates by reference the allegations contained in paragraphs 1
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                             17 through !'05, and each and every part thereof with the same force and effect as though fully set

                             18   forth herein.

                             19           107'.   Pursuant to California Labor Code sections 2800 and 2802, an employer must

                             20   reimburse its employee for all necessary expenditures incurred by the employee in direct

                             21   consequence of the discharge of his or her job duties or in direct consequence of his or her
                             22   obedience to.the directions of the employer.

                             23          108.     Plaintiff and the other class members incurred necessary business-related
                             24   expenses and costs that were not fully reimbursed by Defendants.
                             25          109.     Defendants have intentionally and willfully failed to reimburse Plaintiff and the
                             26   other class members for all necessary business-related expenses and costs.
                             27          110.     Plaintiff and the other class members are entitled to recover from Defendants

                             28   their business-related expenses and costs incurred during the course and scope of their


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       1 employment, plus interest accrued from the date on which the employee incurred the necessary

       2   expenditures at the same rate as judgments in civil actions in the State of California.

       3                                    TENIB CAUSE OF ACTION

       4             (Violation of California Business & Professions Code §§ 17200, et seq.)

       5             (Against FIRST TRANSIT SERVICES, INC., FIRST TRANSIT, INC.,

       6                       FIRST GROUP AMERICA and DOES 1 through 100)

       7           111.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

       8   through 110, and each and every part thereof with the same force and effect as though fully set

       9   forth herein.

                   112.    Defendants' conduct, as alleged herein, has been, and continues to be, unfair,

      11   unlawful and harmful to Plaintiff, other class members, to the general public, and Defendants'

      12   competitors. Accordingly, Plaintiff seek to enforce important rights affecting the public

      13   interest within the meaning of Code of Civil Procedure section 1021.5.

      14           113.    Defendants' activities as alleged herein.are violations of California law, and

      15   constitute unlawful business acts and practices in violation of California Business &

      16   Professions Code section 17200, et seq:

      17           114.    A"violation of California Business & Professions Code section 17200, et seq.

      18   may be predicated on the violation· of any state or federal law. In this instant case, Defendants'

      19   policies and practices of requiring employees, including Plaintiff and the other class members,

      20   to work overtime without paying them proper compensation violate California Labor Code

      21   sections 510 and 1198. Additionally, Defendants' policies and practices of requiring

      22   employees, including Plaintiff and the other class members; to work through their meal and

      23   rest periods without paying them proper compensation violate California Labor Code sections

      24   226.7 and 512(a). Defendants' policies and practices of failing to pay minimum wages violate

      25   California Labor Code sections 1194, ·1197, and 1197.1. Moreover, Defendants' policies and

      26   practices of failing to timely pay wages to Plaintiff and the other class members violate

      27   California Labor Code sections 201, 202 and 204. Defendants also violated California Labor

      28   Code sections 226(a), 1174(d), 2800 and 2802.


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             1           115.    As a result of the herein described violations of California law, Defendants

             2   unlawfully gained an unfair advantage over other businesses,

             3           116.    Plaintiff and the other class members have been personally injured by

             4   Defendants' unlawful business acts and practices as alleged herein, including but not

             5   necessarily limited to the loss of money and/or property.

             6           117.    Pursuant to California Business & Professions Code sections 17200, et seq.,

             7   Plaintiff and the other class members are entitled to restitution of the wages withheld and

             8   retained by Defendants during a period that commences four years preceding the filing of this

             9   Complaint; an award of attorneys' fees pursuant to California Code of Civil procedure section
r-:
            10   l 021.5 arid other applicable laws; and an award of costs.

            11                                     DEMAND FOR JURY TRIAL

            12           Plaintiff, individually, and on behalf of other members of the general public similarly

            13   situated, requests a trial by jury.

            14                                         PRAYER FOR RELIEF

            15           WHEREFORE, Plaintiff, individually, and on behalf of other members of the general

            16   public similarly situated; prays for relief and judgment against Defendants, jointly and

            17   severally, as follows:

            18                                         · Class ·certification

            19           I.      That this action be certified as a class actiori; ·

            20           2.      That Plaintiff be appointed as the representative of the Class;

            21           3.      That counsel for Plaintiff be appointed as Class Counsel; and

            22           4.      That Defendants provide to Class Counsel immediately the names and most

            23   current/last known contact informati~n {addres's, e-mail and telephone numbers) of all class

            24   members.

            25                                     As to the First Cause of Action
            26           5.      That the Court declare, adjudge and decree that Defendants violated California

           27    Labor Code sections 510 and 1198 and applicable IWC Wage Orders by willfully failing to pay

           28    all overtime wages due to Plaintiff and the other class members;


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                                 1            6.     For general unpaid wages at overtime wage rates and such general and special .

                                 2 damages as may be appropriate;

                                 3            7.     For pre-judgment interest on any unpaid overtime compensation commencing
                                 4   from the date such amounts were due;

                                 5            8.     For reasonable attorneys' fees and costs of suit incurred herein pursuant to

                                 6 California Labor Code section 1194; and
                                 7            9.     For such other and further relief as the Court may deem just and proper.
                                 8                                  As to the Second Cause of Action

                                 9            10.    That the Court declare, adjudge and decree that Defendants violated California
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                                10   Labor Code sections 226.7 and 512 and applicable IWC Wage Orders by willfully failing to

       u                        11   provide all meal periods (including second meal periods) to Plaintiff and the other class
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       r.:l                     12   members;
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       00                       13            11.    That the Court make an award to Plaintiff and the other class members of one
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                                14   (1) hour of pay at each employee's regular rate of compensation for each workday that a meal
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                                15   period was not provided;

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                                16            12.    For all actual, consequential, and incidental losses and damages, according to
       .I                       17   proof;
 ,.
                                18            13.    For premium wages pursuant to California Labor Code section 226.7(c); ·

                                19            14.    For pre-judgment intere'st on any unpaid wages from the date such amounts

                                20   were due;
                                21            15.    For' reasonable attorneys' fees and costs of suit incurred herein; and
,-;;
                                22            16.    For such other and further relief as the Court may deem just and proper.
                                23                                   As to the Third Cause of Action
                                24            17.    That the Court declare, adjudge and decree that Defendants violated California

                                25   Labor Code section 226.7 and applicable IWC Wage Orders by willfully failing to provide all

                                26   rest periods to ·Plaintiff'and the other class members;

                                27            ] 8.   That the Court make an award to Plaintiff and the other class members of one

                                28   (1) hour of pay at each employee's'regular rate of compensation for each workday that a rest


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.   ;
               1 period was not provided;

               2            19.      For all actual, consequential, and incidental losses and damages, according to

               3   proof;

               4            20.      For premium wages pursuant to California Labor Code section 226.7(c);

               5            21.      For pre-judgment interest on any unpaid wages from the date such amounts
~u ·
               6   were due; and

               7            22.      For such other and further relief as the Court may deem just and proper.

               8                                     As to the Fourth Cause of Action

               9            23 .     That the Court declare, adjudge and decree that Defendants violated California
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              10   Labor Code sections 1194, 1197, and 1197.1 by willfully failing to pay minimum wages to

              11   Plaintiff and the other class members;

              12            24.      For general unpaid wages and such general and special damages as may be

              13   appropriate;

              14            25.      For statutory wage penalties pursuant to California Labor Code section 1197 .1

              15   for Plaintiff and the other class members in the amount as may be established according to

              16   proof at trial;

              17            26.      · For pre-judgment interest on any unpaid compensation from the date such

              18   amounts were due;

              19            27.       For reasonable attorneys' fees and costs of suit incurred herein pursuant to

              20   California Labor Code section l 194(a);

              21            28.       Fot liquidated damages pursuant to California Labor Code section 1194.2; and

              22            29.       For such other and further relief as the Court may deem just and proper.

              23                                       As to the Fifth Cause of Action
              24            30.      That the Court declare, adjudge and decree that Defendants violated California

              25   Labor Code sections 201,202, and 203 by willfully failing to pay all compensation owed at the

              26   time of termination of the employment' of Plaintiff and the other class members no longer

              27   employed by Defendants;

              28            31.       For all actual, consequential, and incidental losses and damages, according to


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             1 proof;

             2            32.   For statutory wage penalties pursuant to California Labor Code section 203 for ·

             3   Plaintiff and the other class members who have left Defendants' employ;

             4            33.   For pre-judgment interest on any unpaid compensation from the date such

             5   amounts were due; and

             6            34.   For such other and further relief as the Court may deem just and proper.

             7                                   As to the Sixth Cause of Action
             8            35.   That the Court declare, adjudge and decree that Defendants violated California

             9   Labor Code section 204 by willfully failing to pay all compensation owed at the time required

            10   by California Labor Code section 204 to Plaintiff and the other class members;

            11            36.   For all actual, consequential, and incidental losses and damages, according to

            12   proof;

            13            37.   For pre-judgment interest on any unpaid compensation from the date such

            14   amounts were due; and

            15            38.   'For such ·other and further relief as the Court may deem just and proper.

            16                                  As to the Seventh Cause of Action
            17            39.   That the Court cleclare, adjudge and decree that Defendants violated the: record

            18   keeping provisions of California Labor Code section 226(a) and applicable IWC Wage Orders

            19   as to Plaintiff and the other class members, and willfully failed to provide accurate itemized

            20   wage statements thereto;

            21            40.   For actual, consequential and incidental losses and damages, according to proof;
-~}
            22            41.   For statutory penalties pursuant to California Labor Code section 226(e);

            23            42.   For injunctive relief to ensure compliance with this section, pursuant to

            24   California Labor Code section 226(h); and

            25            43.   For such other and further relief as the Court·may deem just and proper.

            26                                  As to the Eighth Cause of Action

            27            44.   That the Court declare, adjudge and decree that Defendants violated California

            28   Labor Code section 1174(d) by willfully failing to keep accurate and complete payroll records


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                1 for Plaintiff an.d the other class members as required by California Labor Code section

                2    ll 74(d);

                3           45.    For actual, consequential and incidental losses and damages, according to proof;
                4           46.    For statutory penalties pursuant to California Labor Code section 1174.5; and
                5           47.    For such other and further relief as the Court may deem just and proper.

                6                                     As to the Ninth Cause of Action
                7_          48.    Thatthe Court declare, adjudge and decree_that Defendants violated California
                8 Labor Code sections 2800 and 2802 by willfully failing to reimburse Plaintiff and the other

                9 class members for all necessary business-related expenses as required by California Labor

               10 Code sections 2800 and 2802;

u              11           49.    For actual, consequential and incidental losses and damages, according to proof;
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     ., ....   12           50.    For the imposition of civil penalties and/or statutory penalties;
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~    Ul"   ~   13           51.'   For reasonable attorneys' fees and costs of suit incurred herein; and
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.. < ·-        14           52 .   For such other and further relief as the Court may deem just and proper.
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               15                                     ·As to the Tenth Cause of Action

~~6            16           53.    That the Court decree, adjudge and decree that Defendants violated California
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~              17    Business and Professions Code sections 17200, et seq. by failing to provide Plaintiff and the

               18    other class members all overtime compensation due to them, failing to provide all meal and

               19 rest periods to Plaintiff and· the other class members, failing to pay at least minimum wages to

               20    Plaintiff and the other class members, failing to pay Plaintiffs and the other class members'
               21    wages timely as required by California Labor Code section 201, 202 and 204 and by violating

               22    California Labor Code sections 226(a), l l 74(d), 2800 and 2802.

               23           54.    For restitution of unpaid wages'to Plaintiff and all the other class members and

               24    all pre-judgment interest from the day such amounts were due and payable;
               25           55.    For the appointment of a receiver to receive, manage and distribute any and all

               26    funds disgorged from Defendants and determined to have been wrongfully acquired by

               27    Defendants as a result of violation of California Business and Professions Code sections
               28    17200, et seq.; ·


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                1          56.    For reasonable attorneys• fees and costs of suit incurred herein pursuant to

                2   California Code of Civil Procedure section 1021.5;

                3          57.    For injunctive relief to ensure compliance with this section, pursuant to

                4 California Business and Professions Code sections 17200, et seq.; and
                5          58.    For such other and further relief as the Court may deem just and proper.

                6   Dated: February 23, 2021                                  LAWYERS/or JUSTICE, PC
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                8                                                  B y : _ ~ - ~ ~ - - --
                9                                                             EdwinAiw~~
                                                                              Attorneys for Plaintiff
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                                    CLASS ACTION COMPLAfNT FOR DAMAGES AND DEMAND FOR JURY TRIAL
Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 49 of 72 Page ID #:49




         EXHIBIT B
      Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 50 of 72 Page ID #:50
              Electronically Filed by Superior Court of California, County of Orange, 02/24/2021 1O: 15:07 AM.
:}0-2021-01185526-CU-OE-CXC - ROA# 4 - DAVID H. YAMASAKI, Clerk of the Court By Georgina Ramirez, Deputll Clerk.
                                                                                                               SUM-100
                                                SUMMONS                                                                             FOR COURT USE OHL Y
                                                                                                                                (SOLO PARA USO DE LA CORTE)
                                        (CITACION JUDICIAL)
   NOTICE TO DEFENDANT:
   (AV/SO AL DEMANDADO):
   FIRST TRANSIT SERVICES, INC, an unknown business entity;
   "Additional Parties Attachment fonn is attached. 11
   YOU ARE BEING SUED BY PLAINTIFF:
   (LO ESTA DEMANDANDO EL DEMANDANTE):
   MASSOUD AZIMIHASHEMI, individually, and on behalf of other
   members of the general public similarly situated;
    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the infonnation
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
    served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal fonn if you want the court to hear your
    case. There may be a court fonn that you can use for your response. You can find these court fonns and more infonnation at the California Courts
    Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
    the court clerk for a fee waiver fonn. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
    may be taken without further warning from the court.
        There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
    referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
    these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
    (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
    costs on any settlement or arbitration award of$10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    1A VISOI Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
    cantinuaci6n.
       Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
    carte y hacer que se entregue una capia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
    en formato legal carrecto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
    Puede encontrarestos formularios de la carte y mas informaci6n en el Centro de Ayuda de fas Cortes de California (WWW.sucorte.ca.govJ, en fa
    biblioteca de !eyes de su candado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
    que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
    podra quitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos legales. Es recomendable que /lame a un abogado inmediatamente. Si no canoce a un abogado, puede llamar a un servicio de
    remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
    programs de servicios legales sin fines de lucro. Puede encantrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
    (WWW .lawhelpcalifornia.orgJ, en el Centro de Ayuda de las Cortes de California, (WWW .sucorte.ca.govJ o poniendose en cantacto con la carte o el
    calegio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y los castos exentos por imponer un gravamen sobre
    cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una cancesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar el gravamen de la corte antes de que la carte pueda desechar el caso.

   The name and address of the court is:                                                                          CASE NUMBER:
                                                                                                                  (N(Jmero def Caso):
                                Superior Court of the State of California
   (El nombre y direcci6n de la corte es):
                                                                                                                         30-2021-01185526-CU-OE-CXC
   County of Orange-Civil Complex Center
   751 West Santa Ana Boulevard, Santa Ana, California 92701                                              Judge Glenda Sanders
   The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
   (El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante, ode/ demandante' que no tiene abogado, es):
   Lawyers for Justice, PC, Edwin Aiwazian, 410 Arden Ave., Suite 203, Glendale, CA 91203;Tel (818)265-1020

   DATE: 02/2412021
                                      DAVID H. YAMASAKI, Clerk of the Court
                                                                        ~lerk, by                     01~
  .!.:(F_:e::c:..:.ha~)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--.!.:(S::e:.:c::.:re:.:t:.:an~·oz)-====== Georgina Ramirez
                                                                                                                                                              , Deputy
                                                                                                                                                            _ (Adjunto)
  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons, (POS-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
       !SEAL]
                                       1.       D
                                              as an individual defendant.
                                       2.       D
                                              as the person sued under the fictitious name of (specify):
                                                                                                          I                        '


                                            3. ~
                                                rv"1                           ·C. •
                                                       on behalf of (specify): r I,~
                                                                                     f      -.-71'41'1 .s:- 1 /      S?<-t/1 L(.; -s I -:;::i, c__
                                                under:   ~     CCP 416.10 (corporation)                           D          CCP 416.60 (minor)
                                                         D     CCP 416.20 (defunct corporation)                   D          CCP 416.70 (conservatee)
                                                         D     CCP 416.40 (association or partnership)            D          CCP 416.90 (authorized person)
                                                         D     other (specify):
                                           4.   D      by personal delivery on (date):
                                                                                                                                                                   Pa e1of1
   Form Adopted for Mandatory Use
     Judicial Council of California
                                                                              SUMMONS                                                    Code of Civil Procedure§§ 412.20, 465
                                                                                                                                                           www.courtinfo.ca.gov
     SUM-100 [Rev. July 1, 2009]
        Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 51 of 72 Page ID #:51


                                                                                                                                   SUM-200(A
                                                                                                    CASE NUMBER:
        SHORT TITLE:
    ~   Azimihashemi vs. First Transit Services, Inc., et al.                                        30-2021-01185526-CU-OE-CXC


                                                             INSTRUCTIONS FOR USE
       -+ This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
       -+ If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
           Attachment form is attached."                                                                                       ·

        List additional parties (Check only one box. Use a separate page for each type of party.):

         D        Plaintiff         @   Defendant    D   Cross-Complainant     D     Cross-Defendant

        FIRST TRANSIT, INC., an unknown business entity; FIRST GROUP AMERICA, an unknown business
r       entity; and DOES I through I 00, inclusive,




                                                                                                                       Page    :1    of       1
                                                                                                                                          Page 1 of 1
     Form Adopted for Mandatory Use
       Judicial Council of California               ADDITIONAL PARTIES ATTACHMENT
    SUM-200(A) [Rev. January 1, 2007)                     Attachment to Summons
    Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 52 of 72 Page ID #:52

  ATTORNj:Y Of\ PARTY WllJiOlIT ATI.QRtn;Y {Name, State Bar number, 811d address):
    Edwm A1wazian (:SBN 232!143 J
    LA WYERS for JUSTICE, PC
    410 Arden Avenue, Suite 203
    Glendale, California 91203                                                        .
          TELEPHONE NO.:      (818) 265-1020                            FAXNO.:   (818) 265-1021
  ATTORNEY FOR Na"'8J:        Plaintiff Massoud Azimihasherru
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF                  Orange
       STREErAooREss:         751 W. Santa Ana Blvd.
       MAILING ADDRESS:
      cITY AND ZIP coDE:      Santa Ana, 92701 .
           BRANCH NAME:       Civil Complex Center
   CASE NAME:
   Azimihashemi vs. First Transit Services, Inc., et al.
                                                                                                                       CASE NUMBER:
       CIVIL CASE COVER SHEET                                              Complex Case Designation
                                                                                                                          30-2021-01185526-CU-OE-CXC
 0        Unlimited            D      Umitsd                       D         Counter           D      Joinder
          (Amount                     (Amount                                                                          JUDGE:
          demanded                    demanded Is                  Filed with first appearance by defendant                         Judge Glenda Sanders
          exceeds $25,000)            $25,000 or less)                 (Cal. Rules of Court, rule 3.402)                 DEPT:


 1. Check one box below for the case type that best describes this case:
     Auto Tort                                                  Contract                                        Provlslonally Complex Clvll Utlgatlon
     D    Auto(22)                                              D Breach of oontraci/warranty (06)              (Cal. Rules of Court, rules 3.40~A03)

     D     Uninsured motorist (46)                              D Rule 3.740 collections (09)                   D     Antitrust/Trade regulation (03)
     Other Pl/PD/WO (Personal lnju,y/Property                   D other oollections (09)                        D     Construction defect (10)
     Damage/Wrongful Death) Tort                                D Insurance coverage (18)                       D     Mass tort (40)
     D     Asbestos (04)                                        D other contract (37)                           D     SecurlHes litigation (28)
     D     Product liability (24)                               Real Property                                   D     EnvlronmentaVToxlc tort (30)
     D     Medic:al malpractice (45)                            D Eminent domain/Inverse                        D     Insurance coverage claims arising from the
     D    Other Pl/PD/WO (23)                                         oondemnalion (14)                               above listed provisionally complex case
     Non-PUPO/WO (Other) Tort ·                                 D Wrongful evk:llon (33)                              types (41)

    D    Business tort/unfair busln~ss practioe (07)            D Other real property (26)                      Enforcement of Judgment
    D    Civil rights (08)      .                    Unlawful Detainer                                          D     Enforcement of judgment (20)
    D    Defamation (13)                                        D
                                                            Commercial (31)                                     Mlscellaneous Clvll Complaint
    D    Fraud (16)                                             D
                                                            Residential (32)                                    D     RIC0(27)
   .D    Intellectual property (19)                             D
                                                            Drugs(38)                                           D     Other c.omplaint (not specifl8d above) (42)
    D    Professional negligence (25)                Judicial Review                                            Mlsc:ellaneous Clvll Petition
    D    Other non-PI/PDiWD tort (35)                           D
                                                           Asset forfeiture (05)                                D     Partnership and corporate governance (21)
     ~loyment                                                   D
                                                            Petition re:.arbltratlon award (11)
                                                                                                                D     other petition (not specified above) (43)
     LJ Wrongful termination (36)                               D
                                                           Writ of mandate (02)
     [LI other employment (15)                             other udlcial review 39
2. This case         is          is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
     a.   D      Large number of separately represented parties                       d.   0       Large number of witnesses                                                  .
     b.   0      Extensive motion practice raising.difficult or novel                 e.   D       Coordination with related actions pending in one or more courts
                 issues that will be time-consuming to resolve                                     in other counties, states, or countries, or in a federal court
     c.   0      Substantial amount of documentary evidence                           f. D         Substantial postjudgmentjudicial supervision
3. Remedies sought (check all that apply): a.@ monetary                              b. 0  nonmonetary; declaratory or Injunctive relief                     c.   0    punitive
4. Number of causes of action (specify): Ten
5. This case         0
                     is            D
                                is not a class action suit.
6. If there are any known related cases, file and se_rve a notice of related case. (You may use form CM-015.)
Date: February 23, 2021
Edwin Aiwazian
                               (TYPE OR PRINT NAME
                                                                    .                NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet In addition to any cover sheet required by local court rule.
  • If this case Is complex under rule 3.400 et seq. of the Callfomia Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.                                                                                     ·


F°:J~~          ~~=se
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onlv.

 CM-010 !Rev. July t, 2007)
                                                                CIVIL CASE COVER SHEET
                                                                                                       ·                                                                 tfae1of2
                                                                                                                          Cal. Rules of COll'I, rules 2.30, 3.220, 3.400-3.403, 3.740;
                                                                                                                                  Cal Standards of Judlclal Mnlnlstrallon, sld 3.10
                                                                                                                                                                 www.courtinfo.ce.gov
    Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 53 of 72 Page ID #:53

                                                                                                                                        CM-010
                                       INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Covar Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collectlons case" ~nder rule 3.740 is defined as an action for recovery of money
owed In a sum stated to be certain that Is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on a-edit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The Identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case Is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a Joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cal.
     Auto (22}-Personal Injury/Property             Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3A03)
            Damage/Wrongful Death                        Breach of RentaVLease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if tha                         Contract (not unlawful datainar            Construction Defect (10)
           case Involves an uninsured                            or wrongful eviction)                  Claims Involving Mass Tort (40)
           motorist claim subject to                     Contract/Warranty Breach-8eller                Securities Litigation (28)
           arbitration, check this /tam                      Plaintiff (not froud or nagllgance)        EnvlronmentalfToxlc Tort (30)
           instead of Auto)                              Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                        (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
           Asbestos Property Damage                      Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
           Asbestos Personal Injury/                     Other Promissory Note/Collections                        County)
                Wrongful Death                               Case                                            Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                         domestic relations)
           toxlc/anvironmantal) (24)                     complex) (18)                                       Sister Slate Judgment
     Medical Malpractlce (45)                            Auto Subrogation                                   Administrative Agency Award
           Medical Malpractice-                          Other Coverage                                         (not unpaid taxes)
                 Physicians & Surgeons              other Contract (37)                                     Petition/Certification of Entry of
           Other Professional Health Care                Contractual Fraud                                      Judgment on Unpaid Taxes
                 Malpractice                             Other Contract Dispute                             Other Enforcement of Judgment
     other Pl/PD/I/VD (23)                      Real Property                                                    Case
           Premises Liability (e.g., slip           Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                 and fall)                               Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WO          Wrongful Eviction (33)                             Other Complaint (not specified
                                                                                                            abova) (42)
                 (e.g., assault, vandalism)         other Real Property (e.g., quiet title) (26)
           Intentional Infliction of                    Writ of Possession of Real Property                 Declaratory Relief Only
                                                                                                            Injunctive Relief Only (non-
                 Emotional Distress                      Mortgage Foreclosure
           Negligent Infliction of                      Quiet Trtle                                              harassmant)
                Emotional Distress                      Other Real Property (not eminent                    Mechanics Lien
           Other Pl/PD/WO                               domain, landlord/tenant, or                         Other Commercial Complaint
Nol),,f)I/PD/WD (Other) Tort                            foreclosure)                                             Case (non-tort/non-complex)
                                                                                                            Other Civil Co"l)lalnt
     Business Tort/Unfair Business              Unlawful Detainer                                               (non-tort/non-complex)
          Practice (07)                             Commercial (31)
                                                                                                    Miscellaneous Clvll Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                   Partnership and Corporate
          false arrest) (not cMI                    Drugs (38) (if the case Involves illegal                Governance (21)
           harassment) (08)                             drugs, check this itam; otherwise,             Other Petition (not spaclfiad
     Defamation (e.g., slander, libel)                  reporl as Commercial or Residential)                above) (43)
            (13)                                Judicial Review                                             Civil Harassment
      Fraud (16)                                   Asset Forfeiture (05)                                    Workplace Violence
      Intellectual Property (19)                   Petition Re: Artlltration Award (11)                     Elder/Dependent Adult
      Professional Negligence (25)                 Writ of Mandate (02)                                          Abuse
          Legal Malpractice                             Writ-Administrative Mandamus                        Election Contest
          Other Professional Malpractice                Writ-Mandamus on Limited Court
                                                                                                            Petition for Name Change
              (not medical or /age/}                        Case Matter
                                                                                                            Petition for Relief From Late
       other Non-Pl/PD/WO Tort (35)                     Writ-Other Limited Court Case                            Clalm
Employment                                                  Review
                                                                                                            Other Civil Petition
   Wrongful Termination (36)                       Other Judicial Review (39)
   Other Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-labor
                                                           Commissioner Appeals
CM-010 [Rev. Jiq 1,   200n                                                                                                               Page 2of 2
                                                    CIVIL CASE COVER SHEET
   Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 54 of 72 Page ID #:54


SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Civil Complex Center
751 W. Santa Ana Blvd
Santa Ana, CA 92701
SHORT TITLE: Azimihashemi vs. First Transit Services, Inc, an unknown business entity;



    CLERK'S CERTIFICATE OF MAILING/ELECTRONIC                                            CASE NUMBER:
                     SERVICE                                                             30-2021-01185526-CU-OE-CXC


  I certify that I am not a party to this cause. I certify that the following document(s), Minute Order dated 04/15/21, have
  been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
  Orange County Superior Court email address on April 15, 2021, at 3:27:13 PM PDT. The electronically transmitted
  document(s) is in accordance with rule 2.251 of the California Rules of Court, addressed as shown above. The list of
  electronically served recipients are listed below:

  LAWYERS FOR JUSTICE, PC
  SS@CALLJUSTICE.COM




                                                 Clerk of the Court, by:
                                                                                                                         , Deputy




                        CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE


V3 1013a (June 2004)                                                                            Code of Civ. Procedure , § CCP1013(a)
         Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 55 of 72 Page ID #:55
                              SUPERIOR COURT OF CALIFORNIA,
                                   COUNTY OF ORANGE
                                  CIVIL COMPLEX CENTER
                                            MINUTE ORDER
DATE: 04/15/2021                   TIME: 03:19:00 PM                   DEPT: CX101
JUDICIAL OFFICER PRESIDING: Glenda Sanders
CLERK: Larry S Brown
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2021-01185526-CU-OE-CXC CASE INIT.DATE: 02/24/2021
CASE TITLE: Azimihashemi vs. First Transit Services, Inc, an unknown business
entity;
CASE CATEGORY: Civil - Unlimited    CASE TYPE: Other employment

EVENT ID/DOCUMENT ID: 73510862
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.

Each party who has not paid the Complex fee of $1,000.00 as required by Government Code section
70616 shall pay the fee to the Clerk of the Court within ten calendar days from date of this minute order.
Failure to pay required fees may result in the dismissal of complaint/cross-complaint or the striking of
responsive pleadings and entry of default.

The Status Conference is scheduled for 07/21/2021 at 01:30 PM in Department CX101.

All counsel are ordered to appear remotely via Courtcall or Courtcall video. If any party retains a court
reporter, the reporter will be required to record the proceedings remotely.

IMPORTANT: Prior to the hearing date, the parties should check the Court's website for the most current
instructions regarding how to appear for their hearing and to access services that are available to answer
their questions. www.occourts.org/media-relations/CoronaVirusUpdate.html

Plaintiff shall, at least five court days before the hearing, file with the Court and serve on all parties of
record or known to Plaintiff a brief, objective summary of the case, its procedural status, the contentions
of the parties and any special considerations of which the Court should be aware. Other parties who think
it necessary may also submit similar summaries three court days prior to the hearing. DO NOT use the
CMC (Case Management Statement) form used for non-complex cases (Judicial Council Form CM-110) .




DATE: 04/15/2021                                 MINUTE ORDER                                      Page 1
DEPT: CX101                                                                                    Calendar No.
         Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 56 of 72 Page ID #:56
CASE TITLE: Azimihashemi vs. First Transit Services, CASE                             NO:
Inc, an unknown business entity;                     30-2021-01185526-CU-OE-CXC


This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352 and mandatory electronic service by order of this Court. Plaintiff shall give notice of the Status
Conference and the electronic filing and service requirement to all parties of record or known to plaintiff
and shall attach a copy of this minute order.

All proposed orders (including those submitted pursuant to stipulation) must be submitted in 2 electronic
formats. One copy is to be filed in Word (without attachments), and another copy in.pdf format with all
attachments/exhibits attached to it. Failure to follow this rule may result in the proposed order not being
brought to the attention of the Court in a timely fashion. Ensure that the proposed order is identified as a
"Proposed Order".

Additional departmental information may be obtained by visiting the Court’s website at:

CIVIL COMPLEX GUIDELINES –
http://www.occourts.org/directory/civil/complex-civil/department-guidelines.pdf

Complex Civil Courtroom Schedule - GUIDELINES FOR CX101–
http://www.occourts.org/directory/civil/complex-civil/calendar-schedule/guidelines_CX101.html

CIVIL TENTATIVE RULINGS –
http://www.occourts.org/directory/civil/tentative-rulings/

Clerk to give notice to Plaintiff and Plaintiff to give notice to all other parties.




DATE: 04/15/2021                                     MINUTE ORDER                                 Page 2
DEPT: CX101                                                                                   Calendar No.
Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 57 of 72 Page ID #:57




         EXHIBIT C
              Electronically Filed by Superior Court of California, County of Orange, 04/23/2021 01:58:00 PM.
        Case 8:21-cv-00780-DOC-DFM
30-2021-01185526-CU-OE-CXC                      Document
                                - ROA # 12 - DAVID            1 Filed
                                                     H. YAMASAKI,       04/26/21
                                                                     Clerk           Page
                                                                           of the Court     58 of 72Ramirez,
                                                                                        By Georgina    PageDeputy
                                                                                                             ID #:58
                                                                                                                   Clerk.



                             1   David J. Dow, Bar No. 179407
                                 ddow@littler.com
                             2   Jocelyn D. Hannah, Bar No. 224666
                                 jhannah@littler.com
                             3   LITTLER MENDELSON P.C.
                                 501 W. Broadway
                             4   Suite 900
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                             5   Telephone:    619.232.0441
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                             6
                                 Attorneys for Defendant
                             7   FIRST TRANSIT INC.
                             8
                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                             9
                                                                      COUNTY OF ORANGE
                        10

                        11
                                 MASSOUD AZIMIHASHEMI, individually,                Case No. 30-2021-01185526-CU-OE-CXC
                        12       and on behalf of other members of the general
                                 public similarly situated,                         ANSWER OF DEFENDANT FIRST
                        13                                                          TRANSIT, INC. TO PLAINTIFF’S
                                                   Plaintiff,                       CLASS ACTION COMPLAINT
                        14
                                        v.                                          ROA# 2
                        15
                                 FIRST TRANSIT SERVICES, INC., an                   ASSIGNED FOR ALL PURPOSES TO
                        16       unknown business entity; FIRST TRANSIT             JUDGE Hon. Glenda Sanders, Dept. CX-
                                 INC., an unknown business entity; FIRST            101
                        17       GROUP AMERICA, an unknown business
                                 entity; and DOES 1 through 100, inclusive,         Dept:       CX-101
                        18
                                                   Defendants.
                        19

                        20              Defendant FIRST TRANSIT, INC. (“Defendant”) hereby answers the Class Action

                        21       Complaint (“Complaint”) filed by Plaintiff MASSOUD AZIMIHASHEMI (“Plaintiff”) as follows:

                        22                                            GENERAL DENIAL

                        23              Pursuant to California Code of Civil Procedure § 431.30(d), Defendant denies, generally

                        24       and specifically, all material allegations contained in each and every cause of action of the

                        25       Complaint. In addition, Defendant further denies that Plaintiff has been damaged or has sustained

                        26       or will sustain any loss or damage in any manner or amount whatsoever as a result of any act or

                        27       omission on the part of Defendant.

                        28
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                                      ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
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                             1                                      AFFIRMATIVE DEFENSES
                             2          Defendant further asserts the following affirmative defenses to the Complaint and each
                             3   claim therein. By asserting the defenses, Defendant does not concede that it has the burden of
                             4   production or proof as to any affirmative defense asserted below. Defendant does not presently
                             5   know all of the factors concerning the conduct of Plaintiff sufficient to state all affirmative defenses
                             6   at this time. Defendant will seek leave of court to amend this Answer should it later discover facts
                             7   demonstrating the existence of additional affirmative defenses.
                             8                                  FIRST AFFIRMATIVE DEFENSE
                             9          As a separate and distinct affirmative defense, Defendant alleges that the Complaint, and
                        10       each and every alleged cause of action therein, fails to state facts sufficient to constitute a cause of
                        11       action upon which relief can be granted.
                        12                                     SECOND AFFIRMATIVE DEFENSE
                        13              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s state law
                        14       claims are preempted in whole or in part by federal law, including, but not limited to, Section 301
                        15       of the Labor Management Relations Act, 29 U.S.C. § 185.
                        16                                      THIRD AFFIRMATIVE DEFENSE
                        17              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff and the
                        18       putative class members have failed to exercise reasonable care to mitigate their damages, if any,
                        19       and that if it is determined that they have the right to any recovery against Defendant, such recovery
                        20       should be reduced and/or eliminated by such failure.
                        21                                     FOURTH AFFIRMATIVE DEFENSE
                        22              As a separate and distinct affirmative defense, Defendant alleges that the Complaint fails to
                        23       allege special damages with requisite specificity.
                        24                                       FIFTHAFFIRMATIVE DEFENSE
                        25              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s claims are
                        26       barred by his own, and putative class members’, breach of duties owed to Defendant under
                        27       California Labor Code §§ 2856 and 2859.
                        28
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                                      ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 60 of 72 Page ID #:60



                             1                                   SIXTH AFFIRMATIVE DEFENSE
                             2             As a separate and distinct affirmative defense, Defendant alleges that if either Plaintiff or
                             3   any putative class member “worked” hours for which compensation was not paid, Defendant had
                             4   no knowledge, or reason to know, of such “work” and such “work” was undertaken without the
                             5   consent or permission of Defendant.
                             6                                 SEVENTH AFFIRMATIVE DEFENSE
                             7             As a separate and distinct affirmative defense, Defendant alleges that any time either
                             8   Plaintiff or the individuals he seeks to represent spent on work-related activities for which
                             9   compensation was otherwise due but was not paid was de minimus such that no compensation is
                        10       owed.
                        11                                      EIGHTH AFFIRMATIVE DEFENSE
                        12                 As a separate and distinct affirmative defense, Defendant alleges that all or portions of the
                        13       claims set forth in the Complaint are barred by the applicable statutes of limitations, including, but
                        14       not limited to, California Code of Civil Procedure §§ 338(a), 339, 340(a), California Business and
                        15       Professions Code § 17208, and any other applicable statute of limitations.
                        16                                       NINTH AFFIRMATIVE DEFENSE
                        17                 As a separate and distinct affirmative defense, Defendant alleges that all or portions of
                        18       Plaintiff’s claims are barred, in whole or in part, by the doctrines of waiver, laches, unclean hands,
                        19       and/or estoppel, including to the extent that Plaintiff and/or putative class members failed to comply
                        20       with Defendant’s policies and procedures relating to meal and rest periods, recording of time
                        21       worked or other employment-related policies relating to the allegations in the Complaint.
                        22                                       TENTH AFFIRMATIVE DEFENSE
                        23                 As a separate and distinct affirmative defense, Defendant alleges that the Complaint, and
                        24       each purported cause of action alleged therein, should be abated in the Court’s discretion, and
                        25       Plaintiff and the putative class should be required to pursue their administrative remedies with the
                        26       California Division of Labor Standards Enforcement, which has primary jurisdiction over their
                        27       claims.
                        28
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                                      ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
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                             1                               ELEVENTH AFFIRMATIVE DEFENSE
                             2          As a separate and distinct affirmative defense, Defendant alleges that the alleged injuries to
                             3   Plaintiff and the putative class members were not proximately caused by any unlawful policy,
                             4   custom, practice, and/or procedure promulgated and/or tolerated by Defendant.
                             5                               TWELFTH AFFIRMATIVE DEFENSE
                             6          As a separate and distinct affirmative defense, Defendant alleges that any loss or damage
                             7   sustained by Plaintiff and the putative class members, if any, were caused by the acts or omissions
                             8   of Plaintiff and the putative class, or persons other than Defendant.
                             9                              THIRTEENTH AFFIRMATIVE DEFENSE
                        10              As a separate and distinct affirmative defense, Defendant alleges that any unlawful or other
                        11       wrongful acts of any person(s) employed by Defendant were outside of the scope of his or her
                        12       authority and such act(s), if any, were not authorized, ratified, or condoned by Defendant, nor did
                        13       Defendant know or have reason to be aware of such alleged conduct.
                        14                                  FOURTEENTH AFFIRMATIVE DEFENSE
                        15              As a separate and distinct affirmative defense, Defendant alleges that the Complaint, and
                        16       each purported claim contained therein, is barred to the extent Plaintiff and the putative class
                        17       members, by their acts, conduct, and omissions, expressly or impliedly waived whatever rights they
                        18       may have had to meal and rest breaks or misled Defendant regarding their meal and rest breaks.
                        19                                  FIFTEENTH AFFIRMATIVE DEFENSE
                        20              As a separate and distinct affirmative defense, Defendant alleges that each purported cause
                        21       of action in the Complaint, or some of the causes of action, are barred, or recovery should be
                        22       reduced, pursuant to the doctrine of avoidable consequences.
                        23                                  SIXTEENTH AFFIRMATIVE DEFENSE
                        24              As a separate and distinct affirmative defense, Defendant alleges that the claims alleged by
                        25       Plaintiff are barred because, without admitting that Defendant owed any duties or obligations to
                        26       Plaintiff and the putative class members, such duties or obligations have been fully performed,
                        27       satisfied or discharged.
                        28
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                                      ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 62 of 72 Page ID #:62



                             1                           SEVENTEENTH AFFIRMATIVE DEFENSE
                             2          As a separate and distinct affirmative defense, Defendant alleges that the principles of
                             3   fairness and equity operate to bar the imposition of penalties under California Labor Code § 226.
                             4                            EIGHTEENTH AFFIRMATIVE DEFENSE
                             5          As a separate and distinct affirmative defense, Defendant alleges that the Complaint and
                             6   each cause of action set forth therein cannot be maintained because, without admitting that any
                             7   violation took place, Defendant alleges that any violation of the California Labor Code, or of a
                             8   Wage Order of the Industrial Welfare Commission, was an act or omission made in good faith, and
                             9   that in any participation in such acts, Defendant had reasonable grounds for believing that the act
                        10       or omission was not a violation of the California Labor Code, or any Wage Order of the Industrial
                        11       Welfare Commission.
                        12                                NINETEENTH AFFIRMATIVE DEFENSE
                        13              As a separate and distinct affirmative defense, Defendant alleges that assuming, arguendo,
                        14       that Plaintiff and the putative class members are entitled to additional compensation, Defendant has
                        15       not willfully or intentionally failed to pay any such additional compensation to Plaintiff and the
                        16       putative class members to justify any awards of penalties, fees, or liquidated damages.
                        17                                 TWENTIETH AFFIRMATIVE DEFENSE
                        18              As a separate and distinct affirmative defense, Defendant alleges that the Complaint and
                        19       each cause of action set forth therein are barred because Plaintiff and the putative class failed to
                        20       timely and completely exhaust the requisite administrative remedies, statutory, and/or contractual
                        21       remedies available to them, including under any applicable collective bargaining agreement, prior
                        22       to commencing this action.
                        23                               TWENTY-FIRST AFFIRMATIVE DEFENSE
                        24              As a separate and distinct affirmative defense, Defendant alleges that its business actions or
                        25       practices were not unfair, unlawful, fraudulent, or deceptive within the meaning of California
                        26       Business and Professions Code § 17200 et seq.
                        27       ///
                        28       ///
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                                       ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
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                             1                          TWENTY-SECOND AFFIRMATIVE DEFENSE
                             2          As a separate and distinct affirmative defense to the Complaint and to the cause of action
                             3   therein for alleged violation of California Business and Professions Code § 17200 et seq., Plaintiff’s
                             4   claims (and those of the putative class) are barred because California Business and Professions
                             5   Code § 17200 et seq. is unconstitutionally vague and overbroad and the manner in which Plaintiff
                             6   alleges that said statutes apply to Defendant’s business practices constitutes a violation of
                             7   Defendant’s rights to substantive and procedural due process rights under the Fourteenth
                             8   Amendment of the United States Constitution and under the California Constitution.
                             9                           TWENTY-THIRD AFFIRMATIVE DEFENSE
                        10              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff and the
                        11       putative class are barred from obtaining relief pursuant to their cause of action for violation of
                        12       California Business and Professions Code § 17200 et seq. because California law does not permit
                        13       representative actions where liability can only be determined through fact-intensive individualized
                        14       assessments of alleged wage and hour violations.
                        15                              TWENTY-FOURTH AFFIRMATIVE DEFENSE
                        16              As a separate and distinct affirmative defense, Defendant alleges that this suit may not be
                        17       properly maintained as a class action because: (a) Plaintiff has failed to plead and cannot establish
                        18       the necessary procedural elements for class treatment; (b) a class action is not an appropriate
                        19       method for the fair and efficient adjudication of the claims described in the Complaint; (c) common
                        20       issues of fact or law do not predominate; to the contrary, individual issues predominate; (d) the
                        21       named Plaintiff’s claims are not representative or typical of the claims of the putative class
                        22       members; (e) the named Plaintiff cannot fairly and adequately represent the interests of the putative
                        23       class members; (f) the named Plaintiff and alleged putative class counsel are not adequate
                        24       representatives for the putative class members; and/or (g) there is not a well-defined community of
                        25       interest in the questions of law or fact affecting Plaintiff and the putative class members.
                        26       ///
                        27       ///
                        28       ///
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                                       ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
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                             1                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
                             2           As a separate and distinct affirmative defense, Defendant alleges that this suit may not be
                             3   properly maintained as a class action because a class action is not an appropriate method for the
                             4   fair and efficient adjudication of the claims described in the Complaint.
                             5                            TWENTY-SIXTH AFFIRMATIVE DEFENSE
                             6           As a separate and distinct affirmative defense, Defendant opposes class certification and
                             7   disputes the propriety of class treatment. If the Court certifies a class in this case over Defendant’s
                             8   objections, then Defendant asserts the affirmative defenses set forth herein against each and every
                             9   member of the certified class.
                        10                              TWENTY-SEVENTH AFFIRMATIVE DEFENSE
                        11               As a separate and distinct affirmative defense, Defendant alleges that the adjudication of
                        12       the claims of the putative class through generalized class-wide proof violates Defendant’s due
                        13       process rights and right to trial by jury guaranteed by the United States Constitution and California
                        14       Constitution.
                        15                               TWENTY-EIGHTH AFFIRMATIVE DEFENSE
                        16               As a separate and distinct affirmative defense, Defendant alleges that the prayer for
                        17       restitution and declaratory relief is barred with respect to any and all alleged violations of California
                        18       Business and Professions Code § 17200 et seq. that have discontinued, ceased, and are not likely
                        19       to recur.
                        20                                TWENTY-NINTH AFFIRMATIVE DEFENSE
                        21               As a separate and distinct affirmative defense, Defendant alleges that it is entitled to an
                        22       offset against any relief due Plaintiff and/or those persons he seeks to represent, based upon their
                        23       respective wrongful conduct and/or monies owed to Defendant, including, but not limited to, any
                        24       overpayments made to Plaintiff and/or those persons he seeks to represent and any contractual
                        25       damages and/or indemnity owed by Plaintiff and/or those persons he seeks to represent as the result
                        26       of their failure to perform their contractual obligations or overpayment for hours worked.
                        27       ///
                        28       ///
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                                       ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 65 of 72 Page ID #:65



                             1                                THIRTIETH AFFIRMATIVE DEFENSE
                             2             As a separate and distinct affirmative defense, Defendant alleges that the Complaint fails to
                             3   properly state a claim upon which prejudgment interest may be awarded, as the damages claimed
                             4   are not sufficiently certain to allow an award of prejudgment interest.
                             5                              THIRTY-FIRST AFFIRMATIVE DEFENSE
                             6             As a separate and distinct affirmative defense, Defendant alleges on information and belief
                             7   that the Complaint is or may be barred and/or relief is or may be limited due to after-acquired
                             8   evidence.
                             9                             THIRTY-SECOND AFFIRMATIVE DEFENSE
                        10                 As a separate and distinct affirmative defense, Defendant alleges that Plaintiff and the
                        11       putative class members consented to, encouraged, or voluntarily participated in all actions taken, if
                        12       any.
                        13                                  THIRTY-THIRD AFFIRMATIVE DEFENSE
                        14                 As a separate and distinct affirmative defense, Defendant alleges that Plaintiff and the
                        15       putative class members are not entitled to equitable relief insofar as they have adequate remedies
                        16       at law.
                        17                                THIRTY-FOURTH AFFIRMATIVE DEFENSE
                        18                 As a separate and distinct affirmative defense, Defendant alleges that the claims for
                        19       penalties, including waiting time penalties under California Labor Code § 203, are barred because:
                        20       (1) a good faith, bona fide dispute exists or existed as to whether additional compensation is or was
                        21       owed, pursuant to California Labor Code §§ 201, 202 and 203; (2) Defendant has not intentionally
                        22       or willfully failed to pay such additional compensation; and (3) to impose penalties in this action
                        23       would be inequitable and unjust.
                        24                                  THIRTY-FIFTH AFFIRMATIVE DEFENSE
                        25                 As a separate and distinct affirmative defense, Defendant alleges that Plaintiff and/or any
                        26       of the other putative class members sustained no injury, as defined in California Labor Code
                        27       § 226(e)(2), from any alleged failure to provide wage statements in conformity with California
                        28       Labor Code § 226(a) or from any other alleged violation of the California Labor Code.
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                                        ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 66 of 72 Page ID #:66



                             1                            THIRTY-SIXTH AFFIRMATIVE DEFENSE
                             2          As a separate and distinct affirmative defense, Defendant alleges that any alleged failure to
                             3   provide Plaintiff and/or any of the other putative class members with wage statements in conformity
                             4   with California Labor Code § 226(a), to pay Plaintiff or any of them, timely and properly, or any
                             5   other alleged violation of the California Labor Code was not knowing, intentional or willful.
                             6                          THIRTY-SEVENTH AFFIRMATIVE DEFENSE
                             7          As a separate and distinct affirmative defense, Defendant alleges that the Complaint is
                             8   barred because even assuming arguendo that Plaintiff and/or any of the other putative class
                             9   members were subjected to inadequate meal rest breaks, any allegedly short meal or rest breaks are
                        10       de minimis.
                        11                               THIRTY-EIGHTH AFFIRMATIVE DEFENSE
                        12              As a separate and distinct affirmative defense, Defendant alleges that the Complaint, and each
                        13       purported claim contained therein, is barred to the extent Plaintiff and the individuals he seeks to
                        14       represent, by their acts, conduct, and omissions, expressly or impliedly waived whatever rights they
                        15       may have had against Defendant or misled Defendant regarding hours worked.
                        16                                THIRTY-NINTH AFFIRMATIVE DEFENSE
                        17              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s meal period
                        18       claims, as well as those of the putative class members, are barred, in whole or in part, on the grounds
                        19       that Plaintiff and the putative class members are exempt from the requirements of the applicable
                        20       Wage Order(s) and provisions of the California Code of Regulations and California Labor Code,
                        21       pursuant to California Labor Code § 512(e)-(g).
                        22                                   FORTIETH AFFIRMATIVE DEFENSE
                        23              As a separate and distinct affirmative defense, Defendant alleges that any purported failure
                        24       of Plaintiff or other putative class members to record all hours of work or to take meal and/or rest
                        25       periods was the result of their exercise of discretion, independent judgment, and self-determination.
                        26       ///
                        27       ///
                        28       ///
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                                       ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                 Case 8:21-cv-00780-DOC-DFM Document 1 Filed 04/26/21 Page 67 of 72 Page ID #:67



                             1                             FORTY-FIRST AFFIRMATIVE DEFENSE
                             2          As a separate and distinct affirmative defense, Defendant alleges that any damages suffered
                             3   were the result of failure by Plaintiff and/or the putative class members to comply with the
                             4   reasonable expectations and/or follow reasonable instructions and/or policies.
                             5                           FORTY-SECOND AFFIRMATIVE DEFENSE
                             6          As a separate and distinct affirmative defense, Defendant alleges that the claims alleged by
                             7   Plaintiff are barred because, without admitting that Defendant owed any duties or obligations to
                             8   Plaintiff and the individuals he seeks to represent, such duties or obligations have been fully
                             9   performed, satisfied, or discharged by, inter alia, providing meal periods, authorizing and
                        10       permitting rest breaks, timely paying for time worked, including overtime.
                        11                                FORTY-THIRD AFFIRMATIVE DEFENSE
                        12              As a separate and distinct affirmative defense, Defendant alleges that even if Defendant
                        13       failed to provide Plaintiff and/or members of the putative class with accurate itemized wage
                        14       statements, which Defendant denies, Plaintiff and the putative class did not suffer injury as a result
                        15       of such failure and so lack standing to assert a claim under California Labor Code § 226.
                        16                               FORTY-FOURTH AFFIRMATIVE DEFENSE
                        17              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s claim for
                        18       wages is barred, in whole or in part, because Defendant never authorized Plaintiff and/or the
                        19       putative class members and/or aggrieved employees to work off-the-clock.
                        20                                 FORTY-FIFTH AFFIRMATIVE DEFENSE
                        21              As a separate and distinct affirmative defense, Defendant alleges that the Complaint and
                        22       each and every cause of action alleged therein are barred, in whole or in part, under the doctrines
                        23       of res judicata and/or collateral estoppel based on prior settlements, waivers, releases, and/or
                        24       judgments.
                        25                                 FORTY-SIXTH AFFIRMATIVE DEFENSE
                        26              As a separate and distinct affirmative defense, Defendant alleges that Plaintiff’s claims, and
                        27       those of the putative class members, for unpaid overtime are barred, in whole or in part, because
                        28
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                                      ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
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                             1   Plaintiff and the putative class members were exempt from overtime pursuant to California Labor
                             2   Code § 514 and Sections 3(H) and 3(L) of Wage Order 9.
                             3                          FORTY-SEVENTH AFFIRMATIVE DEFENSE
                             4          As a separate and distinct affirmative defense, Defendant alleges that the Complaint and
                             5   each claim or cause of action set forth therein for penalties including, but not limited to, penalties
                             6   under California Labor Code §§ 201-203, 204, 223, 226.7, 510, 512, 1194, 1194.2, 1197, 1197.1,
                             7   and 1198, are barred, or any penalties awarded must be minimized, because: (1) there are bona fide
                             8   disputes as to whether further compensation is due to Plaintiff and some or all of the persons they
                             9   seek to represent and, if so, as to the amount of such further compensation; (2) Defendant did not
                        10       willfully fail to pay such additional compensation, if any is owed; and (3) to impose waiting time
                        11       penalties, penalties under California Labor Code § 226 or on any other basis would be inequitable
                        12       and unjust.
                        13                                          ADDITIONAL DEFENSES
                        14              Defendant does not presently know all facts respecting conduct by Plaintiff sufficient to
                        15       state all affirmative defenses at this time. Accordingly, Defendant reserves the right to amend this
                        16       answer should they later discover facts demonstrating the existence of additional affirmative
                        17       defenses.
                        18                                            PRAYER FOR RELIEF
                        19              WHEREFORE, Defendant prays that:
                        20              1.      The Complaint be dismissed in its entirety, with prejudice, and that Plaintiff take
                        21       nothing by way of his Complaint;
                        22              2.      Judgment be entered against Plaintiff and in favor of Defendant on each cause of
                        23       action in the Complaint;
                        24              3.      Defendant be awarded its costs of suit and reasonable attorneys’ fees incurred herein
                        25       to the extent permitted under applicable law; and
                        26       ///
                        27       ///
                        28       ///
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                                       ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
                             1            4.        The Court award Defendant such other and further relied as it deems appropriate.
                             2

                             3   Dated: April 23, 2021                                Respectfully submitted,
                             4                                                        LITTLER MENDELSON P.C.
                             5                                                                         J
                             6
                                                                                      David J. Dow
                             7                                                        Jocelyn D. Hannah
                             8                                                        Attorneys for Defendant
                                                                                      FIRST TRANSIT, INC.
                             9

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                                        ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAI
              Electronically Filed by Superior Court of California, County of Orange, 04/23/2021 01:58:00 PM.
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                                                                                        By Marlon 72 PageDeputy
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                                                                                                                                     POS-050/EFS-050
    ATTORNEY OR PARTY WITHOUT ATTORNEY:               STATE BAR NO   179407; 224666                   I                                                            l
                                                                                                                         FOR COURT USE ONLY
    NAME    David J. Dow, Jocelyn D. Hannah
    FIRM NAME:  LITTLER MENDELSON, P.C.
     STREET ADDRESS: 501 W. Broadway, Suite 900
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     ATTORNEY FOR (name): FIRST TRANSIT, INC.
   '                                                                                              -
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
     STREET ADDRESS:
    MAILING ADDRESS:751 West Santa Ana Blvd.
                    Santa Ana, CA 92701
    CITY AND ZIP CODE:

       BRANCH NAME: Civil Complex Center                                                                  CASE NUMBER:
     PLAINTIFF/PETITIONER: Massoud Azimihashemi, et. Al.                                                  30-2021-01185526-CU-OE-CXC

    DEFENDANT/RESPONDENT:                    First Transit Services, Inc., et al.                         JUDICIAL OFFICER:
                                                                                                          Hon. Glenda Sanders                                 -
                                                                                                      '
                                                                                                          DEPARTMENT:
                                   PROOF OF ELECTRONIC SERVICE
                                                                                                          CX-101
                                                                                                                                                               ~




   1. I am at least 18 years old.
        a. My residence or business address is (specify):
    501 W. Broadway, Suite 900, San Diego, CA 92101-3577


        b. My electronic service address is (specify):
    lchristy@littler.com

   2. I electronically served the following documents (exact titles):
    ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION COMPLAINT



                    The documents served are listed in an attachment. (Form POS-050(D)/EFS-050(D) may be used for this purpose.)

   3. I electronically served the documents listed in 2 as follows:
        a. Name of person served: Edwin Aiwazian, Esq.
             On behalf of (name or names of parties represented, if person served is an attorney):


        b. Electronic service address of person served :
    edwin@calljustice.com
        c. On (date): April 23, 2021
                     The documents listed in item 2 were served electronically on the persons and in the manner described in an attachment.
                     (Form POS-050(P)/EFS-050(P) may be used for this purpose.)



   Date: April 23, 2021

   I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

   Lori Christy                                                                       
                          (TYPE OR PRINT NAME OF DECLARANT)                                               (SIGNATURE OF DECLARANT)


                                                                                                                                                    Page 1 of 3
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   Judicial Council of California                                                                                                    Cal. Rules of Court, rule 2.251
   POS-050/EFS-050 [Rev. February 1, 2017]              (Proof of Service/Electronic Filing and Service)                                         www.courts.ca.gov

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                                                                                                               POS-050(D)/EFS-050(D)



f
       CASE NAME:                                                                               CASE NUMBER:

       Massoud Azimihashemi v. First Transit Services, et al.                                   30-2021-01185526-CU-OE-CXC


                ATTACHMENT TO PROOF OF ELECTRONIC SERVICE (DOCUMENTS SERVED)
                                          (This attachment is for use with form POS-050/EFS-050.)

  The documents that were served are as follows (describe each document specifically):

     ANSWER OF DEFENDANT FIRST TRANSIT, INC. TO PLAINTIFF’S CLASS ACTION
     COMPLAINT




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  Judicial Council of California
                                   ATTACHMENT TO PROOF OF ELECTRONIC SERVICE (DOCUMENTS SERVED)                                    Page 2 of 3
   POS-050(D)/EFS-050(D)
    [New January 1, 2010]
                                            (Proof of Service/Electronic Filing and Service)


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     SHORT TITLE:                                                                           CASE NUMBER:
     Massoud Azimihashemi v. First Transit Services, et al.                                 30-2021-01185526-CU-OE-CXC


                   ATTACHMENT TO PROOF OF ELECTRONIC SERVICE (PERSONS SERVED)
                                          (This attachment is for use with form POS-050/EFS-050.)
                NAMES, ADDRESSES, AND OTHER APPLICABLE INFORMATION ABOUT PERSONS SERVED:

      Name of Person Served                         Electronic Service Address                        Date of Electronic Service
(If the person served is an attorney,
the party or parties represented should
also be stated.)

    Edwin Aiwazian, Esq.                                                                            Date: April 23, 2021
    Lawyers for Justice, PC
    410 West Arden Ave., Ste. 203
    Glendale, CA 91203
                                             edwin@calljustice.com
    Attorneys for Plaintiff
    Massoud Azimihashemi

                                                                                                    Date:


::=:===================: ::=:::::=============================:                                     Date:



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                                                                                                    Date:



Form Approved for Optional Use
Judicial Council of California   ATTACHMENT TO PROOF OF ELECTRONIC SERVICE (PERSONS SERVED)
POS-050(P)/EFS-050(P)
[Rev. February 1, 2017]                    (Proof of Service/Electronic Filing and Service)]                   Page 3 of 3
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